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                                                    Middle Name

 Debtor 2              Curtis
 (Spouse,   «filing}   First Name                   Middle Name


  United States Bankruptcy Court for the: Southern District of Florida

 Case number             ,;ri- f) C, )71 - PPP
                       (If known)
                                                                                                                                                                            D Check if this is an
                                                                                                                                                                                 amended filing




Official Form 106Sum
Summary of Your Assets and Liabilitie$ and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people ar filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the i formation on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check th box at the top of this page.


                Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own

1. Schedule AIB: Property (Official Form 106A/B)
   1a. Copy line 55, Total real estate, from Schedule AIB .......................:................................................................................. .       $   a:lll,OOO,00
   1b. Copy line 62, Total personal property, from Schedule AIB ............:···················································································            $    LIIJ.0 ,('.)0
   1c. Copy line 63, Total of all property on Schedule A/8 .........................................................................................................



Elfj           Summarize Your Liabilities


                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Offic· I Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bo om of the last page of Part 1 of Schedule D ...... ..... .                                         $1'),0..OOD ,tlO
3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
   3a. Copy the total claims from Part 1 (priority unsecured claims) fro                       line 6e of Schedule EIF ........................................... .
                                                                                                                                                                            $    ·7 q 5', ()')
   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) om line 6j of Schedule EIF . .................................... .
                                                                                                                                                                        +        -c.,-
                                                                                                                                                                            $ _ _ _ _ __



                                                                                                                                       Your total liabilities



•ifI            Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
   Copy your combined monthly income from line 12 of Schedule 1....... ,................................................................................. .                 $-   )'4DDaO(i
5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J .. ............... ,..................................................................................            $_3'/3£ OD-
                                                         Case 22-13983-PDR                                   Doc 18                Filed 06/06/22         Page 2 of 49



    Debtor1                Annetta
                                                               Middle Name       Last Name




                        Answer These Questions for Administrative and                                                         tatlstlcal Records

  ; 6. Are you flllng for bankruptcy under Chapters 7, 11,                                               or 13?
           No. You have nothing to report on this part of the form. Check ~.is box and submit this form to the court with your other schedules.
           ~S                                                                                                        I


              ..-..,-,;✓,;r/4'.,w/u/=«<"'"-W_   _ _,.,.,,w,,        ,, ,,,,   ••w··•••••·•~••·••••· ,,       ,,,.   -~             /       ,,.,
  ' 7. What kind of debt do you have?                                                                                '
                                                                                                                     1




       ~our debts are primarily consumer debts. Consumer debts a~e those "incurred by an individual primarily for a personal,
        family, or household purpose." 11 U.S.C. § 101(8). Fill out lines for statistical purposes. 28 U.S.C. § 159. t9g
       □ Your debts are not primarily consumer debts. You have nothjng to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.                                                         I
                                                                                                                     1,




    8. From the Statement of Your Current Monthly Income: Copy you~ total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Li.ie 14.                                                                                             $ _ _ _ _ _ __
                                                                                                                     !




                                                                                                                                                    Total claim


        From Part 4 on Schedule EIF, copy the following:


       9a. Domestic support obligations {Copy line Sa.)                                                                                             $
                                                                                                                                                         a~s: oo
       9b. Taxes and certain other debts you owe the government. {Copy li~e 6b.)                                                                    $        /J lA
       9c. Claims for death or personal injury while you were intoxicated. {C}opy line 6c.)
                                                                                                                          I
                                                                                                                                                    $
                                                                                                                                                              o-
       9d. Student loans. {Copy line 6f.)                                                                                 I
                                                                                                                          I
                                                                                                                                                    $        -0
                                                                                                                          I

       9e. Obligations arising out of a separation agreement or divorce that!you did not report as
                                                                                                                          I

                                                                                                                                                    $
                                                                                                                                                              0 -
          priority claims. {Copy line 69.)                                                                                '


       9f. Debts to pension or profit-sharing plans, and other similar debts. !{Copy line 6h.)                                                         -_-=o~---
                                                                                                                                                   + $._ _

       9g. Total. Add li~es 9a through 9f.
                                                                                                                                                   I ~r1~~-oo I
                                                                                                                                                    $

                                                                                                                                                        GoW~ foo




Official Form 106Sum                            Summary of Your Assets and Llabllltles and Ce,...ln Statistical Information                                                  page2 of2
                                         Case 22-13983-PDR                  Doc 18               Filed 06/06/22           Page 3 of 49



    Fill   in   this information to identify your case and this filing:
'


    Debtor 1              Annetta                                           McCala
                          Am Name                Middle Name

    Debtor2               Curtis
    (Spouse, Wfiling) Finl! Name                 Middle Name


    United States Bankruptcy Court for the: Southern District of Florida                      [3
    case number           J_a,- C?/?!3- Pl}f,                                                                                                         □ Check if this is an
                                                                                                                                                        amended filing

    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                         12/15
    In each category, separately 11st and describe Items. List an asset                   nly once. If an asset fits In more than one category, 11st the asset In the
    category where you think It fits best. Ba as complete and accu                        as possible. If two married people are flllng together, both are equally
    responsible for supplying correct Information. If more space is n                      ad, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known). Answer every questl                       n.

                    Describe Each Residence, Building, Land, or O                        r Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable Interest In any reside ce, building, land, or simllar property?

       fl.)lo. Go to Part 2.
           Ii' Yes. Where is the property?
                                                                    Wh~ the roparty? Check all that apply.
                                                                                                                             Do not deduct secured claims or exemptions. Put

            1.1.     a       s-1 available,
                   IStreet liddress, JIJI)) orSL
                                    if
                                                      .ft
                                                       J1J11e
                                              other description
                                                                    e"Single-fa
                                                                    0
                                                                    D
                                                                                         ily home
                                                                           Duplex or multi-unit building
                                                                         Condomi um or cooperative
                                                                                                                             the amount of any secured claims on Schedule D:
                                                                                                                             Creditors Who Have Claims Sacur8d by Property.

                                                                                                                             Currant value of the       Currant value of the
                                                                    0      Manufa        red or mobile home                  entire property?           portion you own?
                                                                    D      Land                                              s21D-ooV                   s~AO .~Cf{)
                                                                    D      lnvestme t property

                                              State     ZIP Code
                                                                    0      Timesha                                           Describe the nature of your ownership
                                                                                                                             Interest (such as fee simple, tenancy by
                                                                    0      Other_+------------                               the entireties, or a life estate), if known.
                                                                    ~has an nterest In the property? Check one.
                                                                    i:39-1>tor1 o ly
                                                                    Ill'"Debtor 2        ly
                                                                    Ji(Debtor 1 a        d Debtor 2 only                     D Check If this Is community property
                                                                                                                                 (see instructions)
                                                                    0 At least o          of the debtors and another
                                                                    Other Info           atlon you wish to add about this Item, such as local
                                                                    property ide tification number: _ _ _ _ _ _ _ _ _ _ _ __
       If you own or have more than one, list here:
                                                                   What is the !party? Check all that apply.                 Do not deduct secured claims or exemptions. Put
                                                                   0 Single-fam home                                         the amount of any secured claims on Schedule D:
            1.2.                                                                                                             Creditors Who Have Claims Sacur8d by Property.
                                                                   0    Duplex or        ulti-unit building
                                                                   0    Condomini m or cooperative                           Currant value of the       Currant value of the
                                                                   0    Manufactur)ed or mobile home                         entire property?           portion you own?
                                                                   0    Land         1
                                                                                                                             $_ _ _ _ __                $._ _ _ _ _ __
                                                                   0    lnvestmen property
                                                                   D    Timeshare                                            Describe the nature of your ownership
                   City                       State     ZIP Code                                                             interest (such as fee simple, tenancy by
                                                                   D    Other_-+-----------                                  the entireties, or a life estate), If known.
                                                                   Who has an I terest In the property? Check one.
                                                                   D Debtor 1 on y
                   County                                          D Debtor 2 on y
                                                                   0 Debtor 1 anp Debtor 2 only                              D   Check If this Is community property
                                                                   0    At least~n of the debtors and another                    (see instructions)

                                                                   Other Info    tlon you wish to add about this Item, such as local
                                                                   property Iden lflcatlon number: _ _ _ _ _ _ _ _ _ _ _ __


    Official Form 106A/B                                           Schedule Al~: Property                                                                      page 1
                              Case 22-13983-PDR                         Doc 18                           Filed 06/06/22            Page 4 of 49


 Debtor 1      Annetta
                    FntName      Middle Name         LaatName
                                                                                                                       Case number(lfknown).~~----'-J~f~=---~~...   ---4-8.....,.~~-
                                                                What is the p                   perty? Check all that apply.          Do not deduct secured claims or exemptions. Put
     1.3.
                                                                0   Single-fam ly home                                                the amount of any secured claims on Schedule D:
                                                                                                                                      Creditors Who Have Claims Secur9d by Property.
                                                                0   Duplex or              ulti-unit building
                                                                0   Condomini m or cooperative                                        Current value of the      Current value of the
                                                                                                                                      entire property?          portion you own?
                                                                0   Manufactu                       or mobile home
                                                                                                                                      $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                □   Land           j




                                                                □   Investment! property
                                                                                                                                      Describe the nature of your ownership
            City                           State   ZIP Code     □   Timeshare      1

                                                                    Other _ _ _ _ _ _ _ _ _ _ _ __                                    interest (such as fee simple, tenancy by
                                                                □                                                                     the entireties, or a life estate), If known.
                                                                Who has an l~terest in the property? Check one.
                                                                0   Debtor 1 on~
            County
                                                                0   Debtor 2 on~
                                                                0   Debtor 1 an~ Debtor 2 only                                        □   Check if this is community property
                                                                0   At least oneiof the debtors and another                               (see instructions)

                                                                Other inform~on you wish to add about this item, such as local
                                                                property ldenrcatlon number: _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                                       I

2. Add the dollar value of the portion you own for all of your entna, from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here............... ~ .......................................................................        +
                                                                                                                                                               I$
                                                                                       i                                                                       --- - - - - - - -
                                                                                       1




•if&          Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicli, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it o Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   □~                                                                                      :
                                                                                           I


   liiJ Yes

            Make:                                               Who has an in~rest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                                      the amount of any secured claims on Schedule D:
            Model:                                              ~ebtor1 on~                                                           Creditors Who Have Claims S8cur8d by Property.
            Year:                                               ~ebtor2on1
                                                                0 Debtor 1 an Debtor 2 only                                           Current value of the      Current value of the
                                                                                                                                      entire property?          portion you own?
            Approximate mileage:                                0   At least one f the debtors and another
            Other information:                                                                                                        s~ 'f,J-0, (?0            sp590. OD
                                                                0   Check If thl~ is community property (see                           ·-------
                                                                    instructions)!

                                                                                           'I




   If you own or have more than one, describe here:

    3.2.    Make:                    /llljJ                     Who has an lnrrest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
                                                                                                                                      the amount of any secured claims on Schedule D:
            Model:
                                                                0   Debtor 1 onl                                                      Credltots Who Have Claims Secur9d by Property.
                                                                0   Debtor 2 onl
            Year:                                                                                                                     Current value of the      Current value of the
                                                                0   Debtor 1 and Debtor 2 only
                                                                                                                                      entire property?          portion you own?
            Approximate mileage:                                0   At least one                    the debtors and another
            Other information:
                                                                                                                                      $._ _ _ _ __              $_ _ _ _ __
                                                                0   Check If thi is community property (see
                                                                    instructions)
                                                                                                I
                                                                                                I




 Official Form 106A/B                                            Schedule A/B:IProperty                                                                                 page2
                                Case 22-13983-PDR                          Doc 18         Filed 06/06/22               Page 5 of 49


 Debtor 1      Annetta
                    FiratName        Middle Name       lat Name
                                                                          McCall                       Case number   (ffknown)i-----!!l~l~-}c..w._Jq-1--J!.y:.....,e_ef_4'~-'J>l_


    3.3.    Make:                              JJjJ;              Who has an in rest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any seaired clalms on Schedule D:
            Model:                                                □ Debtor 1 on~                                          Creditors Who Have Claims Secured by Property.




                                          *
                                                                  □ Debtor2 on
            Year:                                                                                                         Current value of the           Current value of the
                                                                  □ Debtor 1 andiDebtor 2 only
            Approximate mileage:                                                                                          entire property?               portion you own?
                                                                  □ At least one f the debtors and another
            Other information:               /l)j/)                                   I
                                                                                      I
                                                                                                                          $._ _ _ _ __                   $._ _ _ _ __
                                                                  □ Check if thlr Is community property (see
                                                                      instructions)


    3.4.    Make:
                                               IY/A               Who has an l~rest In the property? Check one.
                                                                  □
                                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any seaired claims on Schedule D:



                                          ~
            Model:                                                    Debtor 1 on~                                        Creditors Who Have Claims Secured by Properly.
                                                                  □   Debtor 2 on~
            Year:                                                                                                         Current value of the           Current value of the
                                                                  0 Debtor 1 and! Debtor 2 only
                                                                                                                          entire property?               portion you own?
                                                                  □ At least one ~f the debtors and another
            Approximate mileage:

            Other information:            -fr/,;                                      !
                                                                                                                          $_ _ _ _ _ __                  $_ _ _ _ __
                                                                  0   Check ifthir is community property (see
                                                                      instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational ~hicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessel~, snowmobiles, motorcycle accessories
   0~                                                                                 I

   □ Yes
                                                                                      !


    4.1.    Make:                IV//.J                           Who has an l~rest In the property? Check one.           Do not deduct secured claims or exemptions. Put
            Model:                I                               □ Debtor 1 only!                                        the amount of any secured claims on Schedule D:
                                                                                                                          Cn,dito,s Who Have Claims Secured by Property.

            Year:                T
                                 I
                                                                  □ Debtor 2 only
                                                                  □ Debtor 1 and btor 2 only                              Current value of the           Current value of the
            Other information:                                    □ At least one the debtors and another                  entire property?               portion you own?


                                                                  □ Check lfthl Is community property (see                $._ _ _ _ __                   $._ _ _ _ __
                                                                      instructions)



   If you own or have more than one, list here:
                                                                                      i

   4.2.     Make:               IV/;?-                            Who has an lntjtrest In the property? Check one.        Do not deduct secured claims or exemptions. Put

            Model:
                                      I                           □ Debtor 1 only!                                        the amount of any seaired claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  □ Debtor 2 only
                                                                                      1




            Year:                                                                                                         Current value of the           Current value of the
                                                                  □ Debtor 1 and
                                                                                                                          entire property?               portion you own?
            Other information:                                    □ At least one the debtors and another

                                                                                                                          $._ _ _ _ __                   $._ _ _ _ __
                                                                  0   Check If th Is community property (see
                                                                      instructions)




                                                                                      1
Off1CiaIForm106NB                                                  Schedule A/B: Property
                                                                                      1                                                                           page3
                                        Case 22-13983-PDR                                                      Doc 18                Filed 06/06/22              Page 6 of 49


 Debtor 1          Annetta
                      Fifll!Nama           MlddlaNama                      Last Name
                                                                                                           McCall                                 Case number(WAnown)     •~'.2- - f-S93J-, 'PJ)g_

                Describe Your Personal and Hou-hold Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable Interest In any of the fol                                                            Ing Items?
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
     ~                                                                                                                   ...
                                                                                                                                                                                                     ¢,.-00 ,OD
                                                                      ..                                             ,




          Yes. Describe .... ;:~         1.iedt<lq/!l ~I, WiP.f(JL'Yj                                                                 ~bl~                                                      $

7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital eq ipment; computers, printers, scanners; music
                     collections; electronic devices including cell phones, came s, media players, games


     ~ . Describe..........                                                              c(lllMaNf. · __                                                                                        $

8. Collectibles of value                                                                                        -··1-~
    Examples: Antiques and figurines; paintings, prints, or other artwork;           ks, pictures, or other art objects;
     _/              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   .U-No
     □ Yes. Describe ......... .                                                                                                                                                                         0
                                                                                                                                                                                                $_ _ _ _ _ __


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipm
                     and kayaks; carpentry tools; musical instruments
    cta<o
     □    Yes. Describe.·········[                                                                                                                                                                         0
                                                                                                                                                                                                $._ _ _ _ _ _ __

10. Firearms
    ~:/es: Pistols, rifles, shotguns.• ammunition, and related equipm~ 1_ __

     □    Yes. Describe..........                                                                                A) j                                                                                         (_J
                                                                                                                                                                                                $_ _ _ _ _ _ __

11.Clothes                               '----                                                                  ·•····t'/J
    ga;/es:          Everyday clo~es, furs, leat;r;a~;signer wear, sho~~a:sssories


    ~es.Describe .......... 1                                [J(?rfi                   er                         s flf¾
                                                                                                           I               I

    Examples; Everyday jewelry, costume jewelry, engagement rings, w                                                           ding rings, heir1oom jewelry, watches, gems,
              gold, silver


    ~ : . Describe...... : - - - - - · · · · · - ~ - ..                                             HJIJ                                                                                                     0
                                                                                                                                                                                                $_ _ _ _ _ _ __

13.Non-farm animals
    Ex8}"p/es: Dogs, cats, birds, horses
    0     No                             .--- ________                                                     f]
     □    Yes. Describe.......... ,                                                              N;'f}_ . . .                                                                                                0
                                                                                                                                                                                                $_ _ _ _ _ _ __


14.Any other personal and household Items you did not already 11st, ncludlng any health aids you did not 11st

    [J,1(10
     □ Yes. Give specific
       information. ·············t.
                                                                                                    .... /. . .~.~
                                                                                                    It
                                                                                                  ·fVfL
                                                                                       · ···············        ....... .                                                                                   0
                                                                                                                                                                                                $_ _ _ _ _ _ __


15. Add the dollar value of all of your entries from Part 3, including a y entries for pages you have attached
    for Part 3. Write that number here ................................................................................................................................................... ~



 OfficiaIForm106A/B                                                                         Schedule A/B Property                                                                                            page4
                                          Case 22-13983-PDR                                                 Doc 18                     Filed 06/06/22                        Page 7 of 49


Debtor 1         Annetta                                                                                 McCall                                              Case number (Wknown)
                    FilstNama               MlddiaName                       t..Nane




              Describe Your Financial Assets

Do you own or have any legal or equitable Interest in any of the fol                                                         Ing?                                                                             Current value of the
                                                                                                                                                                                                              portion you own?
                                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                                              or exemptions.


16.Cash
   Examples: Money you have in your wallet, in your home, in a safe d+it box, and on hand when you file your petition
   rt;;o
   D
                                                                                                                         I


       Yes ...............................................................................................................................................................   Cash: ...................... .        - 0-
                                                                                                                                                                                                               $_ _ _ _ _ __




17. Deposits of money                                                    ~,
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accoun with the same institution, list each.


   ~ s .....................                                                                     Institution nam~:


                                             17.1. Checking account:                                     .!j)r{(~ ~QnX                                                                                         s_:       /b0-00
                                             17.2. Checking account:                                                                                                                                           $   -o--
                                             17.3. Savings account:

                                             17.4. Savings account:                                                                                                                                            s-o-
                                             17.5. Certificates of deposit:                                                                                                                                    s-O-
                                             17.6. Other financial account:                                                                                                                                    s-:-   0:
                                             17.7. Other financial account:

                                             17.8. Other financial account:

                                             17.9. Other financial account:                                                                                                                                    s-0-


   zles:
18. Bonds, mutual funds, or publlcly traded stocks
                   Bond funds, investment accounts with brokerage firms, moray market accounts


   D   Yes.................                  Institution or issuer name:                                                 I




                                                                                                                                                                                                               s-O-
                                                                                                                                                                                                               $-        o-
19. Non-publicly traded stock and Interests In Incorporated and unlnl:Orporated businesses, Including an Interest In
   an ~ • partnership, and joint venture

   13"No                                    Name of entity:                                                                                                                  % of ownership:
                                                                                                                                                                                                                   .._   ()_.;,
   D Yes. Give specific
       information about
                                            ---------------+-----------                                                                                                      0%
                                                                                                                                                                             0%
                                                                                                                                                                             _
                                                                                                                                                                                    %
                                                                                                                                                                               _ _ _%
                                                                                                                                                                                                               $._ _  ----,.,0----,----
       them .........................                                                                                                                                                                          $._ _~ - - - -
                                                                                                                                                                             0%
                                                                                                                                                                             _ _ _ _%                          s-0-



 Officia1Form106A/B                                                                            Schedule          A/Bj Property
                                                                                                                         I
                                                                                                                                                                                                                           page5
                                                                                                                         I
                                       Case 22-13983-PDR                          Doc 18               Filed 06/06/22       Page 8 of 49


Debtor 1         Annetta
                   FlratName           Middle Nano            l..aatName
                                                                                McCall                            Case number(ff-.) ~ - /   1123-;?;Jf<.
20. Government and corporate bonds and other negotiable and non                                   gotlable Instruments
   Negotiable instruments include personal checks, cashiers' checks, p missory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someo by signing or delivering them.

   ~
   □ Yes. Give specific                Issuer name:
       information about
       them ...................... .                                                                                                              -0--
                                                                                                                                             $_ _......c._ _ __

                                                                                                                                             $
                                                                                                                                                  _f) -
                                                                                                                                                 -------
                                                                                                                                             $_ _
                                                                                                                                                -_('.)~_--_ _

                                                                                              !

21. Retirement or pension accounts                                                            I
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savinr accounts, or other pension or profit-sharing plans
   ~o
   □ account
     Yes. List each
              separately.              Type of account:          Institution name:
                                                                                              I




                                       401(k}or similar plan: - - - - - - - - - < · - - - - - - - - - - - - - - - - - -                      $    -o-
                                       Pension plan:                                                                                         $   -_()-
                                                                                                                                                   r2--
                                       IRA:                                                                                                  $
                                       Retirement account                                                                                    $    -- C)-'
                                       Keogh:                                                                                                $    -0·/
                                       Additional account                                                                                    $
                                                                                                                                                  _(!)"'
                                       Additional account:
                                                                                                                                                  _CJ /
                                                                                                                                             $


22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may cor tinue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (elE ctric, gas, water), telecommunications
   com~nies, or others

   ef'No
   □ Yes ..........................                          Institution name or individual
                                       Electric:
                                                                                                                                                  _()_,,,
                                       Gas:
                                                                           -
                                                                                                                                             $
                                                                                                                                             $    _o-
                                       Heating oil:
                                                                                                                                             $
                                                                                                                                                  _(Y
                                       Security deposit on rental unit:
                                                                                                                                             $    -G-
                                       Prepaid rent:
                                                                                                                                             $   -{;}/
                                       Telephone:
                                                                                                                                             $   _CJ-
                                       Water:

                                       Rented furniture:

                                       Other:
                                                                                                                                             $
                                                                                                                                             $
                                                                                                                                                 :i.:
                                                                                                                                                 _o-
                                                                                                                                             $


23. An,iities (A contract for a periodic payme nt of money to you, either fc r life or for a number of years)

   lYNo
   □ Yes..........................     Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                                     page&
                                                                                              I
                                      Case 22-13983-PDR                          Doc 18              Filed 06/06/22                           Page 9 of 49


 Debtor 1     Annetta                                                            McCall                            Case number (ff known)
                 FlnllName                Middle Name             t..Nane




24. Interests In an education IRA, In an account In a qualified ABLE rogram, or under a quallfled state tuition program.
    26 ~.c. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ii( No
   □ Yes     ····································   Institution name and description. Se    rately file the records of any interests.11 U.S.C. § 521 (c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1 ), and rights or powers
    exe,lsable for your benefit                                        !


   CirNo
                                                                                                              ..                                    ·-----
   □ Yes.Give specific
       infonmation about them....
                                                                                                                                                                               _Q_,,,,,...
                                                                                                                                                                      $._ _ _ _ _ _ __

26. Patents, copyrights, trademarks, trade secrets, and other lntell
   Ex8!Jlples: Internet domain names, websites, proceeds from royalties and licensing agreements
   CJl"No
                                                                                                                       ,,,,,,,,,,   ..   ,,,,,,,,,,,,.,,,,,,


   □   Yes. Give specific                                                                                                                                                  _(} -
       infonmation about them....                                                                                                                                     $_ _ _ _ _ _ __


27. Licenses, franchises, and other general intangibles
   Ex'J!Pples: Building penmits, exclusive licenses, cooperative associa · n holdings, liquor licenses, professional licenses
   la No
   □ Yes. Give specific
       infonmation about them ....
                                                                                           ),,,,,,,,.,,,




                                                                                                                                                                      $
                                                                                                                                                                            _a-
                                                                                                                                                                       -------
Money or property owed to you?                                                                                                                                        Currant value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

28. Tax refunds owed to you

   ~o
   □ Yes. Give specific infonmalion                                                                                                            Federal:
                                                                                                                                                                          _c)-
                                                                                                                                                                     $_ _ _ _ _ __
             about them, including whether
             you already filed the returns                                                                                                     State:                $_ _ _ _ _ __
             and the tax years ........................                                                                                                              $_ _ _ _ _ __
                                                                                                                                               Local:



29. Family support
   Exa,yples: Past due or lump sum alimony, spousal support, child sup                       rt, maintenance, divorce settlement, property settlement
   CJl'No
   □ Yes. Give specific infonmalion ............. .
                                                                                                                                              Alimony:

                                                                                                                                              Maintenance:
                                                                                                                                              Support:

                                                                                                                                              Divorce settlement:
                                                                                                                                              Property settlement:

30. other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability be efits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to some e else


   □   Yes. Give specific infonmalion............... j
                                                              I
                                                                                                                                                                      $._ _ _ _ _ _ __
                                                              L

 Officia1Fonm106A/B                                                         Schedule A/B Property                                                                               page7
                                       Case 22-13983-PDR                                                 Doc 18           Filed 06/06/22                         Page 10 of 49


 Debtor 1           Annetta                                                                              McCall                               Case number (ff known)
                      FinstNama                Middle Name               l.aatNsne



                         <
31. Interests In Insurance pollcles
    Ex8J"ples: Health, disability, or life insurance; health savings account HSA); credit, homeowner's, or renter's insurance
     0No
     0    Yes. Name the insurance company             Company name:                                                                              Beneficiary:                                        Surrender or refund value:
               of each policy and list its value ....
                                                                                                                                                                                                            _(j,,,
                                                                                                                                                                                                     $_ _ _--,-_ __

                                                                                                                                                                                                     s_ __,/--=---
                                                                                                                                                                                                     $._ _    / t) --
                                                                                                                                                                                                             --=-----
32. Any Interest In property that Is due you from someone who has                ed
     If you are the beneficiary of a living trust, expect proceeds from a life i surance policy, or are currently entitled to receive
     ~'9'8rty  because someone has died.
     f::I No
     □    Yes. Give specific infonnation .............. [_·.._ __
                                                                                                                                                                                                     '$._o_-__
33. Claims against third parties, whether or not you have filei.l a laws It or made a demand for payment
     Exa'J'p/es: Accidents, employment disputes, insurance claims, or righ                                            to sue
     tirNo
                                                                                                                       -----····
     0    Yes. Describe each claim.....................                                                           ~
                                                                                                                                                                                     - - - - $._ _ _ _ _ _ __

34. Other contingent and unllquldated claims of every nature, lncludl g counterclalms of the debtor and rights




                                                                                                                l
    to~t off claims
     ~ No

     □    Yes. Describe each claim.                                  . ..........................
                                                                                                                                                                                                         - o,_;
                                                                                                                                                                                                     $_ _ _ _ _ _ __




35.Any financial assets you did not already list
     6(" No
     0    Yes. Give specific infonnation ........... .
                                                                                                               -I                                                                                        -- (J-
                                                                                                                                                                                                     $_ _ _ _ _ _ __



36. Acid the dollar value of all of your entries from Part 4, including a y entries for pages you have attached
    for Part 4. Write that number here ...................................................................................................................................................   +

                  Describe Any Business-Related Property Y                                                            Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable Interest In any busln
     c:r{,o. Go to Part 6.
     0    Yes. Go to line 38.

                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                 or exemptions.

38. Ac~nts receivable or commissions you already earned
     C:f No
     □    Yes. Describe ......      r. .                                                                                                                                                           -O-
                                     L"'~---
39. Office equipment, furnishings, and supplies
                                                                                                                                                                                                 •·--------
                                                                                                                                                                                                 I



    Ej'7'ples: Business-related computers, software, modems, printers, copiers,                                     machines, rugs, telephones, desks, chairs, electronic devices
     Cl   No
     0    Yes. Describe ..... .                                                                                                                                                                  ~---<)
                                                                                                                                                                                                    __---__
 Off1CiaIFonn1O6A/B                                                                                 Schedule A/B Property                                                                                       page8
                                          Case 22-13983-PDR                 Doc 18       Filed 06/06/22              Page 11 of 49


 Debtor 1          Annetta
                      Finl Name            Middle Name      LastNmne
                                                                           McCall                       Casenumber(ffknownl   21-.- / J 9r3- PD/c
40. Machinery, fixtures, equipment, supplles you use In buslr,ess, an tools of your trade

  --10"No
      0    Yes. Describe ..... .




41.l;;::ry
      0    Yes. Describe ..... ..j
                                     r-·----··                                                                                                    _()
                                                                                                                                          $_ _ _ _ _ _ __
                                                                                                                                                                -
                                     L

42. tnt,:,ats In partnerships or Joint ventures
      ef No
      D Yes. Describe.......              Name of entity:                                                               % of ownership:
                                                                                                                        _ _ _%
                                                                                                                                          $
                                                                                                                                                     _()-
                                                                                                                        _ _ _%            $
                                                                                                                        _ _ _%            $

43. C_us)>nler llsts, malling lists, or other compilations

      Ct'No
      0  Yes. Do your lists Include personally identifiable Information
                                                                                    I
                                                                                    as defined in 11 U.S.C. § 101 (41A))?

              0 No
                  0     Yes. Describe....... .



44. Any_pd"siness-related property you did not already list
    C!t"No
      0    Yes. Give specific                                                                                                                        -0--
                                                                                                                                              $_ _ _ _ _ _ __
           information ........ .
                                                                                                                                              $_ _ _ _ _ _ __


                                                                                                                                            $--~-----
                                                                                                                                              $_ ___,,___ _ _ __
                                                                                                                                              $__________


                                                                                                                                          .....$:.:'.:.~~'::.:.:.:.:.:.:.:.:.:.:.::.
45. :!dp=~        :.«:~te~~': ~~=~:~~::~~.~~.'.~~.~.:.~~~.~:. '.~~·I·~~.'.~~. ~.~.~~-~~,-~~.~~~.~~~~.~~~.~~.~~.~~.~.~~~·· · · · · · · + I   $_ _      _._"'-'Q,....__-
                                                                                                                                                                   ____


                   Describe Any Farm- and Commercial Fishing-Re ted Property You Own or Have an Interest In.
                   If you own or have an Interest In farmland, 11st It In Part


46.   '?O)JIAI own or have any legal or equitable Interest In any farm- o           commercial fishing-related property?
      0" No. Go to Part 7.
      0    Yes. Go to line 47.
                                                                                                                                          Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured claims
                                                                                                                                          or exemptions.
47. Farm animals
      ~xa'JP/es: Livestock, poultry, farm-raised fish
      O"No
      □ Yes ......................... l       ..


                                                                                                                                              s~JJ=-~--
 Off1CiaIForm106A/B                                                    Schedule A/ : Property                                                                page9
  .     '
                                        Case 22-13983-PDR                                           Doc 18                  Filed 06/06/22                             Page 12 of 49


 Debtor 1            Annetta                                                                        McCal                                          Case number (if known)
                       First Name            Middle Name                   Last Mane




48.   z-➔lther growing or .harv~_s_tecl________,,,,____,,. ----·-··,- · - - - -
      □ Yes. Give specific /
        infonnation ............. ·                                            ·---·-- .                           +                                                                                          ·-0 -
                                                                                                                                                                                                          $._ _ _ _ _ _ __

49. ~ : n d fishing equipment, implements, machinery, ~:tures, a~r-:,~s o;trad~ .


      □ Yes ..........................r                                                                            J
                                                                                                                                                                                                                  -o-
                                                                                                                                                                                                          $_ _ _ _ _ _ __


50. Farm and fishing supplies, chemicals, and feed

      .a"No
       0 Yes ........................... - - - - - -
                                                                                                                                                                                                                  -o-
                                                                                                                                                                                                          $_ _ _ _ _ _ __

51. Anvarm- and commercial fishing-related property you did not al                                                     ady list
      [9"No
      0     Yes. Give specific
            infonnation ............. .                                                                                                                                                                           --o-
                                                                                                                                                                                                          $_ _ _ _ _ _ __


52. Add the dollar value of all of your entries from Part 6, including ny entries for pages you have attached
      for Part 6. Write that number here ...................................................................................................................................................     +        $   -   0-:

                    Describe All Property You Own or Have an nterest In That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Exa'7'/es: Season tickets, country club.membership
      [](No
      0     Yes. Give specific
            infonnation .............




54. Add the dollar value of all of your entries from Part 7. Write that umber here ................................................................. +



                    List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 .............................................................................................................................................................   +
56. Part 2: Total vehicles, line 5                                                                                 $    '36o0,00
57. Part 3: Total personal and household items, line 15                                                            $      0o20.oo
58. Part 4: Total financial assets, line 36                                                                        $              0
59. Part 5: Total business-related property, line 45                                                               $             ()
60. Part 6: Total farm- and fishing-related property, line 52                                                      $            D
61. Part 7: Total other property not listed, line 54                                                               $

                                                                                                                         t1 L~o. oa
                                                                                                               r
62. Total personal property. Add lines 56 through 61 .................... .
                                                                                                              I$                                      Copy personal property total                    + +$ 4) /    J..O , 0-0
63. Total of all property on Schedule A/B. Add line 55 + line 62 .........................................................................................



 Official Fonn 106A/B                                                                      Schedule                : Property                                                                                      page 10
•                                  Case 22-13983-PDR                     Doc 18             Filed 06/06/22                  Page 13 of 49



 Fill 1n this information to identify your case


    Debtor 1         Annetta                                              Mee Ila
                      First Name              MlddllName                  Last Name

    Debtor2            Curtis                                             McN al
    (Spouaa, Wfiling) First Name              Middle Name                 Last Name


    United States Bankruptcy Court for the:Southem District of Florida
                                                                                           El
    Case number
    (II known)
                        ~ .. J)fla2-            Pl}£                                                                                              □ Check if this is an
                                                                                                                                                    amended filing


Official Form 106C
Schedule C: The Property Yo                                                             Claim as Exempt                                                         04/19

Be as complete and accurate as possible. If two married people are fili together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 1       ) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part : Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify      amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the ull fair market value of the property being exempted up to the amount
of any applicable statutory limil Some exemptions----such as those r health aids, rights to receive certain benefits, and tax-exempt
retirement funds--may be unlimited in dollar amount. However, if y u claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of e property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                  Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, e                        if your spouse is filing with you.
        ifYou are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
        □ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule AIB that you clalm as ex mpt, fill In the information below.


         Brief description of the property and line on      Current value of              Amount of the exemption you claim            Spaclflc i - that allow exemption
         Schedule A/8 that lists this proparty              portion you own
                                                            Copy the value fro            Check only one box for each exemption.
                                                            Schedule AIB

        Brief
        description:
                                    N)r;
                                     I
                                                            $_ _ _ _ _+--                  0$ _ _ __
        Line from                                                                          □ 100% of fair market value, up to
        Schedule A/8:                                                                         any applicable statutory limit


        Brief
                                                            $._ _ _ _ _+--                 □ $   _ _ __
        description:
        Line from                                                                          □ 100% of fair market value, up to
        Schedule A/8:                                                                         any applicable statutory limit

        Brief
        description:
                                                            $_ _ _ _ _+--                  □ s   _____
        Line from                                                                          □ 100% of fair market value, up to
        Schedule A/8:                                                                         any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,
        (S'}8iect to adjustment on 4/01/22 and every 3 years after that for           ses filed on or after the date of adjustment.)

        Ill No
        □ Y~Did you acquire the property covered by the exemption wi in 1,215 days before you filed this case?
             ~     No
             □ Yes


Official Form 106C                                          Schedule C: The           roperty You Claim as Exempt                                          page 1 of_
•                           Case 22-13983-PDR                         Doc 18       Filed 06/06/22             Page 14 of 49


Debtor 1      Annetta                                                   McCala
              Finl!: Name     Middle Name           Last Name




             Additional Page

      Brief description of the property and line                                   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/8 that lists this property
                                                            Copy the VblUe         Check only one box for eech exemption
                                                            Schedule A/B

     Brief
     description:
                                                                s._________        □ s   ____
                                                                                   □ 100% of fair market value, up to
     Line from
     Schedule A/B:          ---                                                       any applicable statutory limit

     Brief
     description:
                                                                $._ _ _ _ _!---    □ s   ____
     Line from                                                                     □ 100% of fair market value, up to
     Schedule A/B:          ---                                                       any applicable statutory limit


     Brief                                                      $_ _ _ _ _....__   Os _ _ __
     description:
     Line from                                                                     □ 100% of fair market value, up to
     Schedule A/B:          ---                                                       any applicable statutory limit


     Brief                                                  s_________             □ s   ____
     description:
     Line from
                                                                                   □ 100% of fair market value, up to
     Schedule A/B:          --                                                        any applicable statutory limit

     Brief
     description:
                                                                $._ _ _ __ . _     Os _ _ __
     Line from                                                                     □ 100% of fair market value, up to
     Schedule A/B:          ---                                                       any applicable statutory limit


     Brief
     description:
                                                            s______.__             □ s   ____
     Line from                                                                     D 100% of fair market value, up to
     Schedule A/B:          ---                                                       any applicable statutory limit


     Brief                                                                         Os _ _ __
     description:
                                                            s.______.__
                                                                                   □ 100% of fair market value, up to
     Line from
     Schedule A/B:          ---                                                       any applicable statutory limit

     Brief
     description:
                                                            $,_ _ _ __ _ j . _     □ s   ____
     Line from                                                                     □ 100% of fair market value, up to
     Schedule A/B:          ---                                                       any applicable statutory limit


     Brief
     description:
                                                I           $._ _ _ _---4-_        □ s   ____
     Line from                                  I                                  □ 100% of fair market value, up to
     Schedule A/B:          ---                                                       any applicable statutory limit


     Brief
     description:
                                                            $._ _ _ _- I - _       □ s   ____
                                                                                   □ 100% of fair market value, up to
     Line from
                            ---             j                                        any applicable statutory limit
     Schedule A/B:
     Brief
                                                                                         ____
     description:
     Line from
                                            '
                                            ,               $._ _ _ _- I - _       □ s

                                                                                   D 100% of fair market value, up to
                                                                                      any applicable statutory limit
     Schedule A/B:

     Brief
     description:
                                                            $._ _ _ _- I - _       Os _ _ __
     Line from                                                                     □ 100% of fair market value, up to
     Schedule A/B:                                                                    any applicable statutory limit



Official Form 106C                                        Schedule C: Th Property You Claim as Exempt                                       page Lot_
                                       Case 22-13983-PDR                                Doc 18              Filed 06/06/22                  Page 15 of 49



     Fill   in   this information to identify your case


     Debtor 1           Annetta                                                          McCala
                           FiratName                   Middle Name                       Last Name

    Debtor2          Curtis                                                              McNe
    {SpouM, Wfiling) Fim Name                          Middle Name                       Last Name


     United States Bankruptcy ~urt for      ir;   Southern District of Florida                            [3
    case number
     (If known)
                           :22- /J<lj(f --P/JR                                                                                                                     □ Check if this is an
                                                                                                                                                                      amended filing


    Official Form 106D
    Schedule D: Creditors Who Have                                                                     laims Secured by Property                                                 12/15
    Be as complete and accurate as possible. If two married people a flllng together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill t out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (if known).

    1. Do any creditors have claims secured by your property?
        0        No. Check this box and submit this fonn to the court with your oth r schedules. You have nothing else to report on this fonn.
        0        Yes. Fill in all of the infonnation below.


                     List All SeclfflNI Clalms
                                                                                                                                         Ca/umn~                               Ca/umnC
    2. Ust all secured claims. If a creditor has more than one secured cla                            , list the creditor separately     Amountef claim
       for each claim. If more than one creditor has a particular claim, list                          other creditors in Part 2.        00 not. . . the
        As much as possible. list thA r.lAim.ci      in alohabetical order according t               the creditor's name.                valueof~.
i
! ~I~-                                                       I   ,--.---;-,7-::--r-----:t;.;;--;;,r--j-r------,$                           .f"&:'0-Clll2 rt)   $_ _ _ _ $._ __

i



                                                                          :::n::
            Num

+      (JIJJfA~j ~!!' ,l,</J'f/ ;                                                      you file,
                                                                                                     e claim Is: Check all that apply.


      • CityQC O'o     P
                                                                  :J_)Jnliquldated
                                        Stats                    "e:('"   Disputed

      WhJ,OWes the debt? Check one.                               Nature of Hen. Check all
      rlf 9ebtor 1 only                                           ~ agreement you ma                  (such as mortgage or secured
      D      Debtor 2 only                                                car loan)
      D      Debtor 1 and Debtor 2 only                           D       Statutory lien (such as
      D      At least one of the debtors and another              D       Judgment lien from a I
                                                                  D       Other (Including a right
      D      Check If this claim relates to a
             community debt
      Date debt       was incurred
                                                                                                                                                               $_ _ _ _ _ _ $_ _ __




                                                                          Contingent

             n1Ut>tu'                                             □ Unliquidated
        City                            Stats   ZIP Code
                                                                  □ Disputed
      Wh,wes the debt? Check one.                                 Nature of lien. Check all
      C!'Debtor 1 only                                            D       An agreement you mad (such as mortgage or secured
      D      Debtor 2 only                                                car loan)
      D      Debtor 1 and Debtor 2 only                           D       Statutory lien (such as
      D      At least one of the debtors and another              D       Judgment lien from a I
                                                                  D       Other (including a right
      D

                                                                                                                                   -='",
             Check If this claim relates to a
             community debt

      Date debt       was
                       incurred                       Last 4 digits of ~ccount                       u:7~.-;;u;;;;_;-;;.;;=_
l           Add the dollar value of your entries In Column A on this p a g e . . . - = r-_:::::::::::::::::::::::::::~------
                                                                                       =

    Official Fonn 106D                                  Schedule D: Creditors Who ave Claims Secured by Property                                                       page 1 o f _
                                   Case 22-13983-PDR                           Doc 18                      Filed 06/06/22                   Page 16 of 49

    Debtor


                                                                                                                                                    CoiumnA             CoiumnB
                                                                                                                                                    M10Unt of efaim'a   Val1141ofeoilatn
                                                          --------~------------.. ,.. 00 not deduct
                                                                                                                                                    or CQllateral.
                                                                                                                                                                        ~.~•his•··
                                                                                                                                                                        .clafffl


~     CreditOt's n1m!               .

I    r ~ t,Hi!£11plt1~.                                                                                                                                                 $_ _ _ _ __

      Creditor's malling: address



      ~$-~                                                       Describe the lien


      Creditor's email address, If known                         la tl)JI creditor an ;sider or mated party?
                                                                 Cil"t,fa                         I
                                                                 □       Yes                      '


      Date d9bt wu lncurTed             _4.i/J...Q/~_            ta anyone else ll~e on this clalm?
                                                                  tiJ    No
      Lat 4 digits of account                                    □ Yes. Fil out S                     ricJ/eH: CQde/:ltor1>10fficiatFmn 206H/.
      number

      Do multiple creclttofs have an Interest In the             As of the petition ~Ing date, the clalm Is:
      tt:proptHty?                                               Check all thal apply. I
                                                                  □ Coollngent                    I
       □ YeG. Have you already specified \he relative             Ll/U nl iquidaled !
                  priority'?                                      J:il   Disputed                 !
                                                                                                  I
             □ No. Specify eaen ctf/!drtor, including this
                   creditOI', and ila refalive prklrity.




       Cnldltor's maRlng address




       Creditor'• efffllll addl'Ma, If known                      Is the creditor ah ins,ider or related party?
                                                                   □ No                       ,
                                                                   □ Viii$
       Dett U.bt WM Incurred                                       Is anyomi
                                                                   0      No
                                                                                 elaet•       i
                                                                                                         on this claim?
       Lat 4 digits of account                                     0      Yes. Fill out                diJie ;t: Codebtors (Off'.cial Form 206H/.
        number
                                                                                          I
                                                                   As of the petlt                    filing date, the claim la:
        Do mdtlplt credlton have an Interest in the
                                                                   Check &U thal"             y.
        UMepl'Ope,ty'?
        □ No
                                                                   D      Contingent
                                                                   □ Unlinwdated
        □ Yes.     Have you alrNdy speCJified the relative
                   prlol'lfy?
                                                                   a o,spu\ed
              0    No. Specify each <,-reditor, mcll!dlng this
                        ooiditor, and its rela!ive priority.




              0    Y&S. Th& relative prionty of creditofll is
                         specified 011 liOOS --···                                        i
                                                                                          I
                                                                                          +
                                                                                          I
                                                Additional Page of Scheduk,. D: CiedltOl'& Who Have Claims Secured by Property                                              page.1,_ot~
      Official Form 2060
                                                                                          I
                                                                                          I
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  Fill   in   this information to 1dent1fy your case


  Debtor 1            Annetta
                        FntName                      Middle Name

  Debtor2           Curtis
  (Spouse, Wfiling) Fnt Name                         Middle Name


  United States Bankruptcy Court for the: Southern District of Florida                        [3
  case number
      (Wknown)
                        ~2-15 9J'J1-/?J)R                                                                                                            □ Check if this is an
                                                                                                                                                         amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Hav Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors                      Ith PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired lease                    that could result in a claim. Also list executory contracts on Schedule
A/8: Property (Official Form 106AIB) and OI\ Schedule G: Executo                        ContTacts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed In Schedule                   : Creditors Who Have Claims Secured by Property. If more space Is
needed, copy the Part you need, fill It out, number the entries In th                  boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known)

                     List All of Your PRIORITY Unsecured Claims

       Do any creditors have priority unsecured claims against you?
       □ No. Go to Part 2.
       □ Yes.
 2.    List aH of your priority unsecured claims. If a creditor has more                n one priority unsecured claim, list the creditor separately for each claim. For
       each claim listed, identify what type of claim it is. If a claim has both priority and nonpriorily amounts, list that claim here and show both priority and
       nonpriority amounts. As much as possible, list the claims in alpha             ·cal order according to the creditor's name. If you have more than two priority
       unsecured claims, fill out the Continuation Page of Part 1. If more             n one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for th           form in the instruction booklet)
                                                                                                                                      Total claim   Prlorily.   ......lorlty
                                                                                                                                                    amount      lllllOUflt

                                                                                                                                      s9GCX>s_ _ s_ _
                                                                     When was th debt Incurred?
         Number           S1rael

                                                                     As of the date you file, the claim is: Check all that apply.

         City                                Stata   ZIPCode
                                                                     0   Contingent
                                                                     0   Unliquidat
         Who Incurred the debt? Check one.
                                                                     0   Disputed
         ~btor1 only
         D      Debtor 2 only
         0      Debtor 1 and Debtor 2 only
         0      At least one of the debtors and another
                                                                                       rtain other debts you awe the government
         0      Check If this claim Is for a community debt
                                                                                        th or personal injury while you were
         Is the claim subject to offset?
         □ No                                                        □
~=ttor~g , , ___, , , , ,___,___,_~,--=_-_-_,,, _,,.--;_7/:f)--. . fJ_.([Js_ _ s._ _
         0      Yes




       ~               4.V:l'/i OQ PT                     8NJyWhen was

                        .                                            -~~~             you file, the claim is: Check all that apply.

  ~v,J/~d-~~
         Wt1o Incurred the debt? Check one.
         ~btor1 only
         0      Debtor 2 only
         0      Debtor 1 and Debtor 2 only
                                                                         Taxes and     rtaln other debts you awe the government
         D      At least one of the debtors and another
                                                                         Claims for eath or personal injury while you were
         0      Check If this claim is for a community debt              intoxicated
         Is the claim subject to offset?                             0   Other. S
         0      No
         0      Yes


Official Form 106E/F                                          Schedule E/F: Cred" rs Who Have Unsecured Claims                                             page 1 of_
                                    Case 22-13983-PDR                      Doc 18            Filed 06/06/22                     Page 18 of 49

 Debtor 1            Annetta
                      FilstNamo      Middle Name         L.aotNsne
                                                                                                               Casenumber(ff-•l        1~- / 6 tff'J -P/JR
                                                                                                                                                      •



                                                                                                                                                     --
                     Your PRIORITY Unsecured Claims - Contlnuatl

 After llstlng any entries on this page, number them beginning with .3, followed by 2.4, and so forth.                                 Totalclalm    PriOritJ    Noapriorlty
                                                                                                                                                                 •amount

□      ·Priority Creditor's Name
                                                                                                                                       $   .                     $_ _ _ __



       Number              Stnlel

                                                                                         u file, the claim is: Check all that apply.

                                                                     □
       City                                 Stata   ZIPCode
                                                                     □
                                                                     □
       WII,. ir<:urred the debt? Check one.
       r. ' ,;
       111 ..,t.otor 1 only                                                                                 laim:
           0   Debtor 2 only
           0   Debtor 1 and Debtor 2 only
                                                                                                            u owe the government
           0   At least one of the debtors and another
                                                                                                          jury while you were
           0   Check if this claim is for a communi

       Is the claim subject to offset?

           □ No
           □   Yes


D      Priortty Creditor's Name
                                                                     Las 4 digits o account number _ _ _ _                             $ ' - - - - - - $_ _ __   $._ _ _ __


                                                                     When was the debt Incurred?
       Number              Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     0   Contingent
       City                                 State   ZIP Code         □
                                                                     □
       Who Incurred the debt? Check one.
           0   Debtor 1 only
           0   Debtor 2 only
                                                                     0   Domestic
           0   Debtor 1 and Debtor 2 only
                                                                     0                 rtain other debts you owe the government
           0   At least one of the debtors and another
                                                                     0                  th or personal injury while you were
           □ Check If this claim is for a community de
                                                                     □
       Is the clalm subject to offset?
           0   No
           □   Yes

D      Priority Creditor's Name
                                                                     Last 4 digits f account number _ _ _ _
                                                                                                                                       $_ _ _ _ _ $_ _ __        $_ _ _ __


                                                                                      debt Incurred?
       Number              Street

                                                                                      you file, the claim is: Check all that apply.

                                                                     0   Contingent
       City                                 State   ZIP Code         0   Unliquidal
                                                                     0   Disputed
       Who Incurred the debt? Check one.
       0       Debtor 1 only
       0       Debtor 2 only
                                                                     0   Domestic     pport obligations
       0       Debtor 1 and Debtor 2 only
                                                                     0                 rtain other debts you owe the government
       0       At least one of the debtors and another
                                                                     0                eath or personal injury while you were
           0   Check if this claim is for a community debt
                                                                     □
       Is the claim subject to offset?
           0   No
           0   Yes


Official   Form 106E/F                                     Schedule E/F: Credit rs Who Have Unsecured Claims                                                     page_of_
                                   Case 22-13983-PDR                          Doc 18       Filed 06/06/22                  Page 19 of 49

 Debtor 1           Annetta
                     First Name      Middle Name           Last Name


                    List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonprlorlty unsecured clalms against y
      D     No. You have nothing to report in this part. Submit this form to th court with your other schedules.
      □ ves
 4.   List all of your nonprlorlty unsecured claims In the alphabetical rder of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each clai . For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, ist the other creditors in Part 3.lf you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              T#clalnt
EJ     _N_on_p_rio_rtty_C_red_ltor'_s_Na_me
                                         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __              Last 4 digits of account number _            __ _
                                                                                                                                                             $._ _ _ _ _ __
                                                                                       When was the debt Incurred?
       Number             Street


       City                                                                            As of the date you file, the claim is: Check all that apply.

                                                                                       □ Contingent
       Who Incurred the debt? Ch                                                       □ Unliquidated
        □     Debtor 1 only                                                            □ Disputed
        □     Debtor 2 only
        □     Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        □     At least one of the debtors a d a                                        □ Student loans
        □ Check If this claim Is for lco                                               □ Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset                                                  □ Debts to pension or profit-sharing plans. and other similar debts
        □     No                                                                       □   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
        □     Yes

                                                                                       Last 4 digits of account number _            _   _   _                $_ _ _ _ _ __
       Nonpriortty Credttor's Name                                                     When was the debt Incurred?


       Number             Street
                                                                                       As of the date you file, the claim Is: Check all that apply.
       City                                             State          ZIP Code
                                                                                       □ Contingent
       Who Incurred the debt? Check one.                                               □ Unliquidated
       □      Debtor 1 only                                                            □ Disputed
       □      Debtor 2 only
                                                                                       Type of NON PRIORITY unsecured claim:
       □      Debtor 1 and Debtor 2 only
       □      At least one of the debtors and another                                  □ Student loans
                                                                                       □ Obligations arising out of a separation agreement or divorce
        □ Check if this claim is for a communi             debt                          that you did not report as priority claims
       Is the claim subject to offset?                                                 □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                       □   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
       □      No
       □      Yes



EJ ~ ~ - - - - -
       Nonpnortty Creditor's Name
                                                                                       Last 4 digits of account number _ _ _ _
                                                                                       When was the debt incurred?
                                                                                                                                                             $_ _ _ _ __


       Number             Street


       City                                             State
                                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       ZIP Code
                                                                                       □ Contingent
       Who Incurred the debt? Check one.
                                                                                       □ Unliquldated
       □ Debtor 1 only
                                                                                       □ Disputed
       □ Debtor 2 only
       □ Debtor 1 and Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
       □ At least one of the debtors and ano er
                                                                                       □ Student loans
       □ Check If this claim Is for a co+unlty debt                                    □ Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?
                                                                                       □ Debts to pension or profit-sharing plans, and other similar debts
       □      No                                                                       □   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
       □      Yes




Official Form 106E/F                                        Schedule E/F: Cred    rs Who Have Unsecured Claims                                                   page_of_
                                Case 22-13983-PDR                            Doc 18         Filed 06/06/22                   Page 20 of 49

 Debtor 1          Annetta                                                    McCall                            Case number (N known)
                   First Name      Middle Name             Last Name



                  Your NONPRIORITY Unsecured Claims - Contlnu tlon Page


 After listing any entries on this page, number them beginning with                      .4, followed by 4.5, and so forth.                                          Totaldalm




□     Nonpriorlty Credlto(s Name
                                                                                             Last 4 digits of account number _ _ _ _

                                                                                            When was the debt Incurred?
                                                                                                                                                                     $_ _ _ __




      Number            Sveet
                                                                                             As of the date you file, the claim Is: Check all that apply.
      City                                                                                   0   Contingent
                                                                                             0   Unliquidated
      Who incurred the debt? Check n                                                         0   Disputed
      0      Debtor 1 only
      0      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only
                                                                                             0   Student loans
      0      At least one of the debtors and a ot   r
                                                                                             0   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
                                                                                             0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                        0   Other. Specify_ _ _ _ _ _ _ _ _ _ __

      □      No
      D      Yes




                                                                                            Last 4 digits of account number _ _ _ _                                  $_ _ _ __
      Nonpriority Credlto(s Name
                                                                                            When was the debt incurred?

      Number            Sveet
                                                                                            As of the date you file, the claim is: Check all that apply.
      City                                              State          ZIP Code             0    Contingent
                                                                                            0    Unliquidated
      Who Incurred the debt? Check one.
                                                                                            0    Disputed
      0      Debtor 1 only
      D      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only
                                                                                            0    Student loans
      0      Al least one of the debtors and another
                                                                                             D   Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
      □ Check if this claim is for a community de
                                                                                            0    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                        D   Other. Specify_ _ _ _ _ _ _ _ _ _ __

      □      No
      □      Yes
□
r---.-_,     __________,,,w,-,,,-=-,-~,,+,,w,~~-~'<"•'W~,-~+----,,,,,,,-,,,,,,,,,,,w,,,.,,~,,-----
                                                                                                                                                                     $_ _ _ __
                                                                                            laSt 4 digits of account number _ _ _ _
      Nonpriorlty Credlto(s Name
                                                                                            When was the debt Incurred?

      Number            Sveet
                                                                                            As of the date you file, the claim Is: Check all that apply.
      City                                              State          ZIP Code             □ Contingent
                                                                                            0    Unliquidated
      Who incurred the debt? Check one.
                                                                                             □ Disputed
      □ Debtor 1 only
      0      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only
                                                                                             □ Student loans
      0      Al least one of the debtors and another
                                                                                            0    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
      D Check if this claim Is for a community debt
                                                                                            0    Debts lo pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       0    Other. Specify_ _ _ _ _ _ _ _ _ _ __

      □ No
      □ Yes




Official Form 106E/F                                        Schedule      E/F: Creel   ors Who Have Unsecured Claims                                                 page_of_
                              Case 22-13983-PDR                                 Doc 18       Filed 06/06/22              Page 21 of 49

 Debtor 1      Annetta                                                                                     Case number (ff known)
                FinltNamo      Middle Name               Last Name


               List Others to Be Notified About a Debt That You Already Listed

    Use this page only if you have others to be notified about your nkruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for debt you owe to someone else, list the original creditor in Parts 1 or
    2, then 11st the collection agency here. Similarly, if you have mo than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    addltlonal creditors here. If you do not have addltlonal persons to  notified for any debts In Parts 1 or 2, do not fill out or submit this page.

                                                                                   0    which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                   Li e         of (Check one):    D   Part 1: Creditors with Priority Unsecured Claims
                                                                                                                   D   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                        t 4 digits of account number _        __ _



                                                                                         which entry In Part 1 or Part 2 did you 11st the original creditor?

                                                                                   L" e          of (Check one):   D   Part 1: Creditors with Priority Unsecured Claims
                                                                                                                   D   Part 2: Creditors with Nonpriority Unsecured
                                                                                   Cairns

                                                                                        st 4 digits of account number _       __ _


                                                                                       n which entry in Part 1 or Part 2 did you 11st the original creditor?
      Name

                                                                                                 of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         s                                                                                             D   Part 2: Creditors with Nonpriority Unsecured
                                             I

                                                                                         t 4 digits of account number _       __ _
                                                                     Zlf'Code.

                                                                                       n which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                                 of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                                   D   Part 2: Creditors with Nonpriority Unsecured


                                                                                       st 4 digits of account number _        __ _
      City                                       State               ZIPCode

                                                                                       n which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                                 of (Check one):   D   Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                        D   Part 2: Creditors with Nonpriority Unsecured


                                                                                       st 4 digits of account number _        __ _
      U1V                                        Stata               ZIPCode

                                                                                       n which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                                of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                                   D   Part 2: Creditors with Nonpriority Unsecured


                                  I                                                    st 4 digits of account number _        __ _
      City
                                             ------·
                                                 State               ZIP Code


                                                                                       n which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                                of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                                   D   Part 2: Creditors with Nonpriority Unsecured



      City                                       State               ZIP Code
                                                                                       st 4 digits of account number _        __ _



Official Form 106E/F                                                                   rs Who Have Unsecured Claims                                            page_of_
                           Case 22-13983-PDR                     Doc 18        Filed 06/06/22            Page 22 of 49

Debtor 1      Annetta                                            Mccalla
              First Name    MlddlaName           Last Name



           Acid the Amounts for Each Type of Unsecured Cl


6. Total the amounts of certain types of unsecured claims. This in         rmation is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured clalm.




                                                                                       Total claim


Total claims Sa. Domestic support obllgatlons                                   Sa.
from Part1
               Sb. Taxes and certain other debts you owe the
                   government                                                   Sb.

               Sc. Claims for death or personal injury while you we                          I       '
                   intoxicated                                                  Sc.
                                                                                        $

               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                      6d.   +$



               Se. Total. Add lines Sa through 6d.                              Se.
                                                                                        $



                                                                                       Total claim


Total claims Sf. Student loans                                                  Sf.
                                                                                        $
from Part 2    Sg. Obligations arising out of a separation agreeme
                   or divorce that you did not report as priority
                   claims                                                       6g.     $
               Sh. Debts to pension or profit-sharing plans, and ot       r
                   similar debts                                                Sh.    $

               Si. Other. Add all other nonprlority unsecured claims.
                   Write that amount here.



               Sj. Total. Add lines Sf through Si.                              Sj.
                                                                                        $




Official Form 10SE/F                                 Schedule E/F: Cred   rs Who Have Unsecured Claims                                       page_of_
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 Debtor
                                              Middle Name

 Debtor 2
 (Spouse   ~ filing)                          Middle Name


 United States Bankruptcy Court for the5w1JJ/effl/District of_.._~~~r

 Case number
  (If known)
                       2~ - / 3qJ13" P{)g                                                                                                  D   Check if this is an
                                                                                                                                               amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill i out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do     YJl(.i have any executory contracts or unexpired leases?
      '3"No. Check this box and file this form with the court with your o er schedules. You have nothing else to report on this form.
      0      Yes. Fill in all of the information below even if the contracts or I ases are listed on Schedule AIB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have he contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions fo this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or leas                                  State what the contract or lease is for


2.1
      Name

      Number           Street

      City                               State          ZIP Code

2.2
      Name

      Number           Street


      ~ity                                State          ZIP Code

2.3
      Name

      Number           Street


      gity                               State          ZIP Code
                                                   ,,,•❖ >.-.   ,m,»SS,   h••'




2.4
      Name

      Number           Street

      City                               State          ZIP Code

2.5
      Name

      Number           Street

      City                               State          ZIP Code


Official Form 106G                                Schedule G: Executory C ntracts and Unexpired Leases                                          page 1 of_
,,,,,,-   -




                                               Case 22-13983-PDR                Doc 18         Filed 06/06/22           Page 24 of 49
  ~
               "
               Debtor 1                                                                                 Case number (if known)   J':1~ 1/JCJ?.J-£!:JR
                                                                                                                                                         •
               -                  Additional Page if You Have More Contracts or L        ses

                         Person or company with whom you have the contract or lease                  What the contract or lease is for

               2.2;
                         Name


                         Number       Street


                         City                       State      ZIP Code

               2.
               ---~ -
                         Name


                         Number      Street


                         City                       State      ZIP Code


               2.
                    -
                         Name


                         Number       Street


                         City                       State       ZIP Code


               2._
                         Name


                         Number       Street


                         City                       State       ZIP Code


               '2.__;
                         Name


                         Number       Street


                         City                       State       ZIP Code




                         Name


                         Number       Street


                         City                        State      ZIP Code




                         Name


                         Number       Street


                         City                        State      ZIP Code


                   2.-
                         Name


                         Number       Street


                         City                        State      ZIP Code




              Official Fann 106G                             Schedule G: Executory Con   cts and Unexpired Leases                         page_ of - -
                                           Case 22-13983-PDR                       Doc 18         Filed 06/06/22           Page 25 of 49
•     A




     Debtor 1

     Debtor 2
     (Spouse, if filing)


                                           uJJl:f~ District of-~~~+"
     United States Bankruptcy Court for the:5"O

     Case number
      (~ known)
                                 ~J.- 13 9(3 Po/2.             J

                                                                                                                                                       D   Check if this is an
                                                                                                                                                           amended filing

    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                                       12/15
    Codebtors are people or entities who are also liable for any debts                       u may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying corr                     t information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additio                      I Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.

     1. Dgyou have any codebtors? (If you are filing a joint case, do not isl either spouse as a codebtor.)
          ~      No
          0      Yes
     2. Within the last 8 years, have you lived in a community prope     state or territory? ( Community property states and territories include
        Afzona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          i:i    No. Go to line 3.
          D      Yes. Did your spouse, former spouse, or legal equivalent live
                 0      No
                 D      Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _. Fill in the name and current address of that person.



                        Name of your spouse, former spouse, or legal equivalent



                        Number            Street



                        City                                          State                      ZIP Code


     3. In Column 1, list all of your codebtors. Do not include your spo se as a codebtor if your spouse is filing with you. List the person
         shown in line 2 again as a codebtor only if that person is a gu antor or cosigner. Make sure you have listed the creditor on
         Schedule D (Official Form 106D), Schedule E/F (Official Form 1 6E/F), or Schedule G (Official Form 106G). Use Schedule D,
         Schedule EIF, or Schedule G to fill out Column 2.

            Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt




    ~           Name
                                               N/A                                                                   Check all schedules that apply:


                                                                                                                      □   Schedule D, line ___

                                                                                                                      □   Schedule E/F, line ___

                                                                                                                      □
                Number           Street                                                                                   Schedule G, line ___

                City                                                      State                   ZIP Code


    §J          Name                                                                                                  □ Schedule D, line ___
                                                                                                                      □ Schedule E/F, line ___
                                                                                                                      □ Schedule G, line ___
                Number           Street


                City_                                                     State                   ZIP Code

    §]                                                                                                                □   Schedule D, line ___
                Name

                                                                                                                      □   Schedule E/F, line ___

                                                                                                                      □
                Number           Street                                                                                   Schedule G, line ___

                City                                                      State                   ZIP Code



    Official Form 106H                                                            Schedule   : Your Codebtors                                                page 1 of_
                             Case 22-13983-PDR                          Doc 18             Filed 06/06/22             Page 26 of 49




 United StatN Bankruptcy Court for lhe~QC,1kl O'\

 Case number Qf known):      -Z.,"c..- -1 ~ 9 ~J>«.


                                                                                                                                               □ Check if this is an
                                                                                                                                                 amended filing
Official Form 206H.
Schedule H: Codebtors                                                                                                                                          12/15

Be • compltte and accurate ae poaslbte. If more space la needed copy the Additional Page, numoering the entries con!leeutlvely. AUaen
the Additional Page to this page,
                                                                                 j.
  1. Doea the debtor have eny codebton;?
        e--'No. Check this box an<:! submit this form to the com1 with the            btors other schedules. Nothing else needs to be rePo(ted on thiS form.
        □ Yes

  2. In Column 1, llst u eodetlton e11 of the peopl• or entities wh are also liable for any debts ll•t•d by the debtor ln'the scheduln of
     cMltor&, Schedulff D-G. Include all guarantors and 1..'0-obligo In Column 2. identify the creditor to whom the debt ls owed and each
     sehedule on which the creditor is listed. It the eodebtor fs liable on a debt to more than one creditor. list each creditor separately in Column 2.




i 2.1                                                                                                                                              □ D
                                          Slt&e!
                                                                                                                                                   □ Elf
                                                                                                                                                   □ G

                                          City                          Slate                 ZlPGime


 22
                                                                                                                                                   0 0
                                          Stroot
                                                                                                                                                   □ E/F
                                                                                                                                                    u   G


                                          Cffy                          State                 ZIP Code

  2.3
                                                                                                                                                    0 D
                                           Slteel                                                                                                   0 E/F
                                                                                                                                                    □ G

                                    ..   .. .9.~x...                    s~,i:a                ~.IP. Cooe •....

  :u                                                                                                                                                u D
                                           Street                                                                                                   0 E/F
                                                                                                                                                    0 G


                                           gnr. .      ...   ___   ..   .~1a1e                ZIPCod_e__ .

                                                                                                                                                    a D
                                            $1'Q<ll                                                                                                 □ EIF
                                                                                                                                                    □ G

                                            City                        Stat<a                ZIPC<lde

  2.6




                                            City



  Official Form 206H                                                    Schadul•IH: Codebtors                                                           page 1 of_


                                                                                      'I
                         Case 22-13983-PDR     Doc 18        Filed 06/06/22   Page 27 of 49


Debtor




 2._
                                                                                              □ D
                                                                                              D E/F
                                                                                              □ G


                                                               ZIP Code



                                                                                              □ D
                                                                                              □   E/F
                                                                                              □ G


                             Cfty                              ZIP Code


 2._
                                                                                              □ D
                             Slmlt                                                            □   E/F
                                                                                              UG

                             City              Stale           ZIPCod<11


 2._
                                                                                              CJD
                              Stroot                                                          □   F/F
                                                                                              OG

                                               State           ZIP Code


 2._
                                                                                              □ D
                              Street                                                          □ EfF
                                                                                              □ G


                              Crty                             ZIP Code


                                                                                              U D
                                                                                              □ EfF
                                                                                              □ G


                              City


  2,_
                                                                                              □ D
                                                                                              □ Elf
                                                                                              0 G

                                                                ZIPCmw


  2._                                                                                          U D
                               Sim.et                                                          U EIF
                                                                                               □ G


                               City             Stale           ZIP Code




                                             S<:he<tule H: Codebtors                                page_of_
    Official Form 208H
                                      Case 22-13983-PDR                               Doc 18            Filed 06/06/22     Page 28 of 49




           Debtot1




           United Statas Bariknlp!ey Coo1 for   th~"'t\9.r:n Distrlct of .........:;..;;....._.,.
           case number 'U:..r- 1.3~"3                           ft)R                                                Check lf this is:
           (lfkoownj
                                                                                                                     □ An amended mng
                                                                                                                     □ A supplement showing po~tpetition chapter 13
                                                                                                                       income as of the following date:
      Official Form 1061                                                                                                 MM I DD! YYYY

      Schedule I: Your Income                                                                                                                                       12/15
      Ba aa c;,mplate and accurate as PoSslbte. If two married people a filing lofil&ther (Debtor 1 and Debtor 2), both are equalfy rasponaibta for
      supplying comict lnfonnatlon. If you are married and not fifing Joi y, and your apouae la living with you, Include Information about your spouse.
      If you are separated and your apoun ia not filing with you, do not nclude information about your spouse. If more space Is needed. attach a
      Hparate aheet to this form. On tha top of any addlttonal pages, wr your name and case number {It known). Answer every quntlon.

                         hactlbll Employment

       1. FIi    Jn yoUr tHnpfoyrmmt
             Information..                                                                                                          Deblx>r 2.or non•flllng epouu
             If you have l'l'10f9 than one job,
             attach a nparate page with
             information about additional              Employment &tatus                                                            a-€mp1oyoo
             employers.                                                                                                             CJ   Not emplo)'E)d
             Include part-time, seasonal, or
             self-employed work.
                                                       Occupation
             Ocoupation may include student
             or homemaker, if ii applies.

..   .'.
                                                       Employer's name


                                                       Employer'& address




                                                                                                                                                          State   ZIP Cooe

                                                        How long employed ther&?


                          Clive Details About Monthly Income

              E$11matlt monthly Income as of the date you ffle this form. If y have nothing to report for any line, write $0 h'I the space. Include your non-filing
              spol.1$8 unless you are separated.
              lf you or your non--filing spouse have more than one employer. com ine the information for all employers for that person on the ""es
              below. If you need more space, attach a separ.ite sheet to this form.
                                                                                                                 For oebtor 1       For Debtor 2 or
                                    ~~c.orl'troc..~ wo,~                                                ·, ..                      ~ 5 spouse
            2. Llat monthly gross wages, salary, and commission& (before all payroll     ")IL
               deduction&), If not paid monthly. calculate what tha monthly wage uld be.     2.

           , 3. Estimate and llst monthly overtime pay.
                                                                                                                                   +    $._ _ _ __



            4. Calculate g,091 Income. Add iine 2 • Une 3.

                                                                                                    I

           Official Form 1061                                                         Sched~ I; Yourln<:ome                                                       page1
                                      Case 22-13983-PDR                                        Doc 18              Filed 06/06/22                 Page 29 of 49




                                                                                                                                       For Debtor 1           Foto.btor2or
                                                                                                                                                              notM!llnli1 &DOUtlft.
      Copy line 4 here ............................................................. ,,, ...............................   + 4.        $ _ _ __                  $

$.    I.let all payroll deductions:
                                                                                                                                                                                                                    )
       5a.   Tax,    Medicare, and Soclaf Security deductions                                                                5a.       $    Q                    $      t)
       5t>. Mandatory c:ontributlons for retirement plans                                                                    5b.       s    0                    $      6
       5c. Voluntary contnbutiona for retirement plans                                                                       5c.       s    0                    $      0
       5d. Required repayments of retirement fund loans                                                                      5d.       $     a                   $      0
       Se. Insurance                                                                                                         5e.       s     0                  $       D
       5f. Dome.tic lJUpport oblltJatlons                                                                                    Sf.       $    0                    $      0
       Sg. Union duea                                                                                                        5g.       $    Cl>n                $
       5h. Other deduetione. Specffy:                                                                                        5h. +$        +() D                $
 6. Add the payroll deduc:tton.. Add Hnes 5a + Sb + Sc + 5d + Se +S + 5g + 5h.                                               6.        $C)     0                $

 7.    Cllfc!Ante total monthly take-llOl'mt pay. Subtract line 6 from line 4.                                               7.        6 ~ s 6500-0D  I


 8. Llst all other Income regularly received:

       8a. Net Income from rental property and from operating a
             profulrion, or farm
                                                                                                   but•••
             Allaeh a $lalement for each property sod bUSin&ss ShOwing 9 ss
             receipts, ordinary and necessary bU$mess expenses, and the tal
             monthly net income.                                                                                             ea.
                                                                                                                                           0
                                                                                                                                       $._ _ _ __

       8b. lriterwt and dividends                                                                                            Sb.            0
                                                                                                                                       $._ _ _ __                      0
                                                                                                                                                                 $_ _ _ __
       Sc. Family IUpport payments that you, a non-filing spouse, or a dependent
             regularly receive                    ·
             lndude affmony, spousal support. child support, maintenance. ivorce
             settlement, and property settlement.
                                                                                                                                           0 _ __
                                                                                                                                       $._ _                    $,_ _  o__
                                                                                                                                       $._"""!o__
       8d Unemployment compensation
       Se. Social Security
                                                                                                                             8d.
                                                                                                                             Se.
                                                                                                                                       $_ _ f>__                $,_o __
                                                                                                                                                                s._~o'E-----
       Sf. Oth&r government auiatance that you regularly receive
           lndude cash assfstance and the value (if known} of any non-    assistance
           that you receive, such as food stamps (benefits under the Sup emental
             Nutrffion Assistance Program) or housing subsidies.
             Specify: _ _ _ _ _ _ _ _ _ _ _ _ _+ - - -
                                                                                                                             Sf.            Q__
                                                                                                                                       $,_.....                         Q'--,-
                                                                                                                                                                $ . _.....

       Bg. Pension or retirement lneome                                                                                      8g.       s._Q__                   $_     _,,O______
       Sh. Other monthly Income. Specify - - - - - - - - - . - - - -                                                                        Q                 +$        0
 9. Add all other Income. Add Unes Sa + 8b + 8c + 8d + Se                                  +   St +8g      8h.               9.    1   s2soo.(X)J         I      $   6s-oo:ee1
io. Calculate monthly lncoma. Ad<! lfne 7 + line 9.
      Add the entries in tine 10 for Debtor 1 and Debtor 2 or non-tilings                                                     ,. I ,$!.Q'.)-tt+ I wEID -OD I=                                 fa@@
11, Stab aff other regular contrlbutiom1 to the npenHa that lfO\I ti t In Schedule J.
      Include contributions from an unmarried partner, members of your                                        sehold, your depondents, your roommates. and other
      fri&nds or relatives.
      Do not indud& any amounts already included lo tines 2- t O or amou ts that are not available to pay expenses listed in Schedule J.
      Specify:              fYOn                                                                                                                                                    11.   +   $ _ _ __

12.   Add the amount In the last column of line 10 to the amount in I Ile 11. The result is the oombined monthly income.
      Write that amount on the Summary of Yoo, Assets and Liabilitkls a  Certain Statistical Information, if It applies                                                             12.       ~l'.ZalMQf
                                                                                                                                                                                              Combined          ,
                                                                                                                                                                                              monthly lnc.ome
 13.   t?o you expect an Increase or decrease within the year after y                                     u ftle this form?
        tl'No.
        □ Y~. El(plain:


Official Form 106!                                                                          Schedul I: Your Income                                                                              page2
                                       Case 22-13983-PDR                  Doc 18           Filed 06/06/22                Page 30 of 49
  .


   Debtor 1
                                                  Middle Name                                                Check if this is:
  Debtor 2                                                                                                    D An amended filing
  fSpouse, if filing)                             Middle Name

                                                                                                              D A supplement showing postpetition chapter 13
   United States Bankruptcy Court for t h e ~ District of-----+                                                   expenses as of the following date:
  Case number                                                                                                     MM/ DD/ YYYY
      (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this f rm. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

                         Describe Your Household

1. Is this a joint case?

      ~No. Go to line 2.
      [fYes. Does Debtor 2 live in a separate household?

                     0   No
                     0   Yes. Debtor 2 must file Official Form 106J-2, Expenses fi r Separate Household of Debtor 2.

2. Do you have dependents?                      LJ   No                                    Dependent's relationship to             Dependent's       Does dependent live
      Do not list Debtor 1 and                  ~Yes. Fill out this information r Debtor 1 or Debtor 2                             age               with you?
      Debtor 2.                                                                         .-V--.-,----d...~-~-/,k--t-
                                                  each dependent... ......................
                                                                                                                                                     ~yo
      Do not state the dependents'
      names.                                                                                                                                         ~Yes

                                                                                                                                                     □   No
                                                                                                                                                     □   Yes

                                                                                                                                                     □   No
                                                                                                                                                     □   Yes

                                                                                                                                                     □   No
                                                                                                                                                     □   Yes

                                                                                                                                                     □   No
                                                                                                                                                     0   Yes

3. Do your expenses include
       expenses of people other than
                                                0    No
      .Y"1Jrselfa11ctyour dependents?           D    Yes


                     Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless y u are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a suppl mental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if ou know the value of
 such assistance and have included it on Schedule I: Your Income (  cial Form 1061.)                                                  Your expenses

  4. The rental or home ownership expenses for your residence. Incl de first mortgage payments and
     any rent for the ground or lot                                                                                          4.      $   /67£,eV
        If not included in line 4:
         4a.       Real estate taxes                                                                                         4a.     $           0
         4b.       Property, homeowner's, or renter's insurance                                                              4b.     $           0
        4c.        Home maintenance, repair, and upkeep expenses                                                             4c.     $           0
        4d.    Homeowner's association or condominium dues                                                                   4d.     $           0
Official Form 106J                                                 Schedule J: Y ur Expenses                                                               page 1
                                 Case 22-13983-PDR                     Doc 18          Filed 06/06/22   Page 31 of 49



    Debtor 1




                                                                                                                          Your•~

     5.   AddltioMt mortgage payments for your residence, such as h                equity loans

     6. Utllltlff:
          ea.   Electricity, heat, natural gas                                                                 6a.        $   l 'Zo-Oo
          6b.   Water,   sewer. garbage collactfon                                                             61:,.      $    .go,oo
          6c.   Telephone, cell phone, Internet, satellite, and cable services
                •.,                                                                                            6c.        $            Q
          6d.   Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                               6d.          . $0.00
     7.   Food and housekeeping aupplies                                                                       r          600. no
     8. Childcare and children's education costa                                                               a                  l)
     9.   Clothing, laundry, and dry cleaning                                                                  9.         s~-OD
    10. Personal care productl and services                                                                    10.        $        l)
    11.   Mttdlcal and dental eJtplJfUles                                                                      11.        $        0
    12. Transportation. Include gas, maintenance, bus or !rain fare.
        Do not include car payments.                                                                           12.
                                                                                                                          $12.0·CO
                                                                                                                                  ~
    13. EntertAlinment, clut>., recntatlon, newspapers, magamin. an                                            1:1.       $
f
14.       Charltatm, contributions and rellgtous donations                                                     14.        $

    15.   Insurance.
          Do not lncluoe ln$urance ~ucted from       your pay or inciudoo in lin   4 or 20.

          1:;a. Ufe insurance                                                                                  15a.       $
          15b. Health insurance                                                                                Hib.       $

          15c. Vehicle insurance                                                                               15c.       $

                                                                                                               15d.       $   !70-00
16.       Taxff. Do not include taxes deducted from your pay or included <ri lines 4 or 20.
          Speci~-----------
                          ✓,,...::;__ _ _.,..__ __                                                             16.        $                0
    17. Installment or lsue payments;                     ·._j

           17e. Car payments for Vehicle 1                                                                     17a.       $             Q
           17t>. Car payments for Vehicle 2                                                                    17b.       $                0
           17c. Other. Specify.:_ _ _ _ _ _ _ _ _ _ _ _ _ _....,.._ _ __                                        17c.      $             0
           171:l. Other, S p e c i f y . : _ - - - - - - - - - - - - - - - + - - - -                            17,;!.    $             0
    . 11.1. Your paymsntt. of alimony, maintenance, and support that y      did not report as deducted from
            your pay on line 5, Schedule I, Your lm:ome (Offlcllld Form 10 ).                                       18    $             0
    19. other payments you make to support others who do not live Ith you.
        Specify:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-+---                                                             19.   $                0
    20. Other r.-1 property expenHe not lnctuded In llnes 4 or 5 of th s form or on Schedule I: Your Income.

           2oa. Mortgages on other property                                                                     20a.      s             0
           20b. Real &&tat& taxes                                                                               20b.      $             0
           20c. Property, homeowner's, or renttir's insurance
           20d. Maintenance, repair, and upkeep expenses

           20&. Homeowner's association or condominium _d.;es
                                                                                                                20<:.

                                                                                                                20d.

                                                                                                                .we.
                                                                                                                          $

                                                                                                                          $
                                                                                                                          $             £
    Official Form 106J                                             Sehffule J: Your Exp4msee                                                   page2
                               Case 22-13983-PDR                 Doc 18         Filed 06/06/22           Page 32 of 49

 Debeer 1                                                                                       Casenumber(itknown)   @.,- / 39J'3-P/JR

21.    Other. S p e c i f y : - - - - - - - - - - - - - - - - - + - - - -                                             21.   +$._ _O=-------
22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                               22a.      $    8.6q0, 00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from O    ial Form 106J-2                       22b.      $    ·11/ s: 00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.      $~5',00

23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.
                                                                                                                             $  a_t1t70,oo
      23b.   Copy your monthly expenses from line 22c above.                                                      23b.      -$ Y(/_36:oo


                                                                                                                              $ g,(j6. S-:{)D
      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses withi           the year after you file this form?

      For example, do you expect to finish paying for your car loan within he year or do you expect your
      mortgage payment to increase or decrease because of a modificati n to the terms of your mortgage?

      □ No.
      □ Yes.       Explain here:




Official Form 106J                                         Schedule J:     our Expenses                                                  page 3
                                     Case 22-13983-PDR                        Doc 18                      Filed 06/06/22                Page 33 of 49




                                                                                                                             Check if this is:

     Deblor2              ~-------
     (Spcu$1>,fffling) l'ni'lo.,.                      -ll-                                                                  0 An amended filing
                                                                                                                             □ A supplement showing P.QSlpetilioo chapter 13
     !Jnjjed     States Bankruptcy Court for   tht;iit,,.3'\.cu~ District of_....,,__...,.-                                      expenses as of the following date:
     Case number ~ -
      (If lulov,!1)
                                       r:s q ~~ PJ> ~                                                                            MM i 001 YYYY



    Official Form 106J-2
    Schedule J-2: Expenses for Se arate Household of Debtor 2                                                                                                                     1211s
    Use this form for Debtor 2'• ~ • i . hovsetl'.lld e11 pens&s ONLY                           Debtor 1 and DebtOf 2 maintain separate households. If D&bror 1 11nd
    Debtor 2 h..,_ ont or mo,w dependents In common, /Jst the depe                            nts on both Schedule J and this form. Answer the qu1J$tion.s on this form
    only with rul)Kt to e,rpenu.s for Dftbtor 2 lh•t •re not reported                         Schedule J. Be as compiew and accurate as postible. If more space Is
    needed, attach another ahfft to this form. On the top of any a                             al pages, write your name and case number (If known). Answer every
    question.

                          DNcrll:le Your Houffhohl

    1. Do vnt1 and Debtor 1 maintain separate household$?

       Iii' ~o. Do not complete this form.
       e"ves
'
                                                            ------··········               ···•·•······

!2.. Do you have dependents?                         li('NO                                               Dependent's relationship to                   Oepenant's    Does dtpendeftt ,...,_
       Do not list Debtor 1 but list all
       other dependent& of Debtor 2
                                                     b Yes. Fiff out this informati<        for           Debtor 2:
                                                          eaeh depand$1'11.. ...................... - - - - - - - - - -
                                                                                                                                                        •             wtth you?

       regartles& of whether listed as a
       dependent Of Debtor 1 Ol'i
                                                                                                                                                                      u1:"
                                                                                                                                                                      Q o/es
       5ched\AeJ.
       Do not state the dependents·                                                                                                                                   □ No
       names.                                                                                                                                                         ft '(!IS
                                                                                                                                                                      □ No
                                                                                                                                                                      □ ves
                                                                                                                                                                      □ No
                                                                                                                                                                       □ Yes
                                                                                                                                                                      Cl    No
                                                                                                                                                                       0    Yes

    3. Do your ex.pen ... indude
       expe11R9 of people other than
       yourself, your dependentfl, and
·-· Debtor 1?

                        lhtlmate Your °"90ln9 Monthly l!xpenaes
1 Esttmate your ♦Xpenses as ot your bankruptcy fling date unless                            ou are using this fonn as a supplement in a Chapter 13 case to report
    expensn as of a date after the bankruptcy Is flied.

     lncluda expenHS paid for with non-cash government anilltan<:e f you know the value of
     such .-letance end have Included it on Schedule I: Your lncom (Official Form 1061.)                                                                    Your expenn,s

     4. TM Nmtal or home ownennlp axpen,as for your residence. I
        any rent for the ground ot lot.
                                                                                               ude first mortgage payments and
                                                                                                                                                 4.
                                                                                                                                                            $   aoa, (ct} --
          If not Included in line -4:
          411.        Reel e&tate taxes                                                                                                          4a         $        - c,-
           4b.
           4c.
                      Property, homeowners, or renter's insura.-w;;e
                      Home maintenance, repair, and upkeep eicpmises.                  I
                                                                                                                                                 4b.

                                                                                                                                                 de..
                                                                                                                                                            s
                                                                                                                                                            $
                                                                                                                                                                   -  f}-
                                                                                                                                                                  -·o--
           4d.        Homeowner's association or condominium dues
                                                                                       I
                                                                                       l                                                         4d.        $
                                                                                                                                                                 -0.,...
        °"""'         F~m 11l6J.2                           Smodulo J-2,     l!xpe""i'"'-•alo                    Ho-old of Oabto< 2
                                                                                                                                                                                  page 1
                                Case 22-13983-PDR                  Doc 18          Filed 06/06/22           Page 34 of 49

 Debtor 1                                                                                      Case number (itknown),~J};,.._,,_"'_/...::3'_~___,,....J<C..._-!....~-~....:.~---=:....--




                                                                                                                                        Your expenses


 5. Additional mortgage payments for your residence, such as ho               e equity loans                                5.
                                                                                                                                       $            D
 6.    Utilities:
       6a.   Electricity, heat, natural gas                                                                                 6a.        $              S'CJ,oo
       6b.   Water, sewer, garbage collection                                                                               6b.        $              !/LOO
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                                 6c.        $               if).# 00
       6d.   Other. Specify:                                                                                                6d.        $                    ()
 7.    Food and housekeeping supplies                                                                                       7.         $           ;S(J .. oD
 8.    Childcare and children's education costs                                                                             8.         $              C)
 9.    Clothing, laundry, and dry cleaning                                                                                  9.         $              20,00
10.    Personal care products and services                                                                                  10.        $                   ()
11.    Medical and dental expenses                                                                                          11.        $                    C)
12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                       $                  J:-JO ,oO
       Do not include car payments.                                                                                         12.

13.    Entertainment, clubs, recreation, newspapers, magazines, an books                                                    13.        $                 0
14.    Charitable contributions and religious donations                                                                     14.        $                 0
15.    Insurance.
       Do not include insurance deducted from your pay or included in lin s 4 or 20.
                                                                                                                                                          {?                         ~;
       15a. Life insurance                                                                                                  15a.       $
       15b. Health insurance                                                                                                15b.       $                   0
                                                                                                                                                   2 QQl!&Q
       15c. Vehicle insurance

       15d. Other insurance. Specify:
                                                                                                                            15c.

                                                                                                                            15d.
                                                                                                                                       $
                                                                                                                                       $           -·o
16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                             16.        $                  D
17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                      17a.       $                   0
       17b. Car payments for Vehicle 2                                                                                      17b.       $                   0
       17c. Other. Specify:                                                                                                 17c.       $                   0
       17d. Other. Specify:                                                                                                 17d.       $                   0
18.    Your payments of alimony, maintenance, and support that yo did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106 ).                                                      18.
                                                                                                                                       $                  t)
19.    Other payments you make to support others who do not live              ith you.

      Specify:                                                                                                                19.      $                  0
20.    Other real propsrty expenses not included in lines 4 or 5 of th s form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                     20a.       $                 0
       20b. Real estate taxes                                                                                               20b.       $

                                                                                                                                       $
                                                                                                                                                         a
       20c. Property, homeowner's, or renter's insurance                                                                    20c.

       20d. Maintenance, repair, and upkeep expenses                                                                        20d.       $           f£ ~.G_(J
       2oe. Homeowner's association or condominium dues                                                                     20e.       $                -0
      Official Form 106J-2                      Schedule J-2: Expenses f r Separate Household of Debtor 2                                                                  page2
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 Debtor 1                                                                                      Casenumber(itknoMT)    2,.l- JJ9[3- P/JR.


21.    Other. S p e c i f y : - - - - - - - - - - - - - - - - - - - + - - -                                          21.           Q
                                                                                                                                   _______
                                                                                                                           +$ _ _...


22.    Your monthly expenses. Add lines 5 through 21.
       The result is the monthly expenses of Debtor 2. Copy the result to lin 22b of Schedule J to calculate the
       total expenses for Debtor 1 and Debtor 2.                                                                     22.




23.   Line not used on this form.




24. Do you expect an increase or decrease in your expenses within he year after you file this form?

      For example, do you expect to finish paying for your car loan within t e year or do you expect your
      mortgage payment to increase or decrease because of a modificatio to the terms of your mortgage?

      ~0-

      □ Yes.       Explain here:




      Official Form 106J-2                   Schedule J-2: Expen es for Separate Household of Debtor 2                                  page3
                                          Case 22-13983-PDR         Doc 18        Filed 06/06/22             Page 36 of 49

Fill   in   this 1nformat1on          to identify your case·

Debtor 1             Annetta                                        Mccalla
                     First Name                      Middle Name    Last Name


Debtor 2              Curtis                                         McNeal
(Spouse. [ filing) Fi~t Name                         Middle Name    Last Name




Case number
 (If known)
                                                                                                                                     □ Check if this is an
                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an lndivid al Debtor's Schedules                                                                                              12/15

  If two married people are filing together, both are equally responsi le for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankru tcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below



            Did you pay or agree to pay someone who is NOT an attorney o help you fill out bankruptcy forms?

            'No
            D   Yes. Name of person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Prf'pafY>:'s Notice, Declaration, and
                                                                                         Signature (Official Form 119).




            Under penalty of perjury, I declare that I have read the summ ry and schedules filed with this declaration and
            that they are true and correct.




       x~~                                                         X
             Signature of Debtor 1


             Date    6-'2...-C:_(
                    MM/ DD        /   YYYY
                                                                        Date'~
                                                                          MM/ DD /
                                                                                     d~~
                                                                                     YYYY
                                      Case 22-13983-PDR                Doc 18           Filed 06/06/22            Page 37 of 49



   F,11   ,n this 1nformat1on to 1dent1fy your case:


   Debtor 1           Annetta
                        First Name                   MlddleName

                       Curtis
   Debtor 2If filing) __
   (SpauM,                                _ _ _ _ _ _ _ _ _ _ _l..all
                             _ _ _ _ _ _ _Mlddlo
                      Flrll_Name                                 _ _ ,_ _ _ __



   United States Bankruptcy Court for the: Southern District of Florida
                                                                                        El
   Case number
    (If known)
                        ~ -132f'J -Bf}£                                                                                                  □ Check if this is an
                                                                                                                                           amended filing




  Official Form 107
  Statement of Financial Affairs for In ividuals Filing for Bankruptcy                                                                                     04119
 Be as complete and accurate as possible. If two married people a                 filing together, both are equally responsible for supplying correct
 Information. If more apace is needed, attach a separate sheet to                 a form. On the top of any additional pages, write your name and case
 number (If known). Answer every question.


                     Give Details About Your Marital Status and                   re You Lived Before


   1. What la your current marital status?

          D Married
          !f Not married

   2. During the laat 3 years, have you llved anywhere other than w ere you live now?

          i!I' No
          □ Yes. List all of the places you lived in the last 3 years. Do not nclude where you live now.

                 Debtor 1:                                           Dates De       1    Debtor 2:                                            Dates Debtor 2
                                                                     lived the                                                                lived there




                 Number
                                        Nil}_
                                     Street
                                              1
                                                                     From
                                                                                         D   Same as Debtor 1



                                                                                             Number Street
                                                                                                                                            0   Same as Debtor 1


                                                                                                                                                From
                                                                     To                                                                         To




                 City                             State ZIP Code                             City                     State ZIP Code


                                                                                         D   Same as Debtor 1                               D   Same as Debtor 1


                                                                     From                                                                       From
                 Number              Street                                                  Number Street
                                                                     To                                                                         To



                 City                             State ZIP Code                             City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or leg I equivalent In a community property state or territory? (Community property
          states and territories include Arizona, California, Idaho, Louisian , Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          i!I' No
          □ Yes. Make sure you fill out Schedule H: Your Codebtors (Offi ·a1 Form 106H).



                    Explain the Sources of Your Income

Official Form 107                                    Statement of Financial      lrs for lndlviduala FIiing for Bankruptcy                        page 1
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Debtor 1       Annetta                                              McCal                                Case number (ff /171own)
                 First Name     MkdeName          LaslName




 4. Did you have any Income from employment or from operating business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all usinesses, including part-time activities.
    If you are filing a joint case and you have income that you receive t ether, list it only once under Debtor 1.

     □ No
     if Yes. Fill in the details.

                                                        Sources of Income                Gron income                Sources of Income           Gron Income
                                                        Check all that apply.            (before deductions and     Check all that apply.       (before deductions and
                                                                                         exclusions)                                            exclusions)

            From January 1 of current year untll        D    Wages, commiss· ns,                                    0    Wages, commissions,
                                                             bonuses, tips                  $                            bonuses, tips          $
            the date you filed for bankruptcy:
                                                        D    Operating a bu · ess                                   D    Operating a business


            For last calendar year:                     D    Wages, commiss ons.                                    D    Wages, commissions,
                                                             bonuses, tips                  $                            bonuses, tips          $
            (January 1 to December 31,
                                           yyyy
                                                        D    Operating a busl    8SS                                D    Operating a business



            For the calendar year before that:          D    Wages, commi        ons,                               D    Wages, commissions,
                                                             bonuses, tips                                               bonuses, tips
                                                                                            $                                                   $
            (January 1 to December 31,
                                           yyyy
                                                        D    Operating a busl ess                                   D    Operating a business



 5. Did you receive any other Income during this year or the two                revious calendar years?
    Include income regardless of whether that income is taxable. Exa             pies of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; ren              I income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and yo         have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separat ly. Do not include income that you listed in line 4.

     Iii No
     D     Yes. Fill in the details.



                                                        Sources of Income                Gross Income from            Sources of Income         Gron Income from
                                                        Describe beloW.                  uchsource                    Describe beloW.           each source
                                                                                         (before deductions and                                 (before deductions and
                                                                                         exclusions)                                            exclusions)



            From January 1 of current year untll                                        $._ _ _ _ _ _ _ - - - - - - - - - $_ _ _ _ _ __
            the date you flied for bankruptcy:                                          $                                                       $_ _ _ __
                                                                                        $                                                       $
                                                                                                                                                -------
                                                                                        $_ _ _ _ _ __                                           $_ _ _ _ _ __
            For last calendar year:
                                                                                        $._ _ _ _ _ __                                          $_ _ _ _ _ __
            (January 1 to December 31, ___)
                                           yyyy                                         $_ _ _ _ _ __                                           $_ _ _ _ _ __



            For the calendar year before that:                                          $_ _ _ _ _ __                                           $_ _ _ _ _ __

            (January 1 to December 31, ___)                                             $_ _ _ _ _ __                                           $_ _ _ _ _ __
                                           yyyy
                                                                                        $_ _ _ _ _ _ _                                          $_ _ _ _ _ __




Official Form 107                             Statement of Financial            lrs for Individuals Filing for Bankruptcy                                  page2
                             Case 22-13983-PDR                         Doc 18       Filed 06/06/22              Page 39 of 49



Debtor 1      Annetta                                                  McCall
               First Name        Middle Name            Last Name




              Ust Certain Payments You Made Before You Fil                        for Bankruptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer

     □ No. Neither Debtor 1 nor Debtor 2 has primarily consumer ebts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family,     household purpose."
               During the 90 days before you filed for bankruptcy, did y        pay any creditor a total of $6,825* or more?

               0    No. Go to line 7.

               D    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                         total amount you paid that creditor. Do not inclu payments for domestic support obligations, such as
                         child support and alimony. Also, do not include yments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years afte that for cases filed on or after the date of adjustment.

     D     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did yo pay any creditor a total of $600 or more?

               D    No. Go to line 7.

               D    Yes. List below each creditor to whom you paid a tota of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic s pport obligations, such as child support and
                         alimony. Also, do not include payments to an a mey for this bankruptcy case.


                                                                                    Total amount paid         Amount you still owe   Was this   payment for•••


                                                                                    $._ _ _ _ _ __           $_ _ _ _ _ __
                      Creditor's Name
                                                                                                                                     D Mortgage
                                                                                                                                     Dear
                      Number    Street                                                                                               D Credit card
                                                                                                                                     D Loan repayment
                                                                                                                                     D Suppliers or vendors
                      City                     State        ZIP Code
                                                                                                                                     D Other _ _ _ __

                                                                                    $._ _ _ _ _ _ _ $_ _ _ _ _ __
                      Creditor's Name
                                                                                                                                     D Mortgage
                                                                                                                                     Dear
                      Number    Street                                                                                               D Credit card
                                                                                                                                     D Loan repayment
                                                                                                                                     D Suppliers or vendors
                      City                     State        ZIP Code
                                                                                                                                     D Other _ _ _ __


                                                                                    $_ _ _ _ _ _ _ $_ _ _ _ _ __
                      Creditor's Name
                                                                                                                                     D Mortgage
                                                                                                                                     Dear
                      Number    Street                                                                                               D Credit card
                                                                                                                                     D Loan repayment
                                                                                                                                     D Suppliers or vendors
                      City                     State        ZIP Code
                                                                                                                                     D Other _ _ _ __



Official Form 107                                  Statement of Financial   airs for Individuals FIiing for Bankruptcy                            page3
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Debtor 1      Annetta                                                    McCall                          Case number (ff known)
                   First Name       Middle Name           Last Nana




 7. Within 1 year before you flied for bankruptcy, did you make a p yment on a debt you owed anyone who was an Insider?
    Insiders include your relatives; any general partners; relatives of an general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, r owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprieto . 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     !f No
     0     Yes. List all payments to an insider.
                                                                          Dlltffof
                                                                          payment
                                                                                         Total amount
                                                                                         paid

                                                                                        $_ _ _ _ _ $_ _ _ __
                                                                                                            0-
                                                                                                            Amount you still      Reaon for this payment




            lnside(s Name



            Number        Street




            City                                  State   ZIP Code


                                                                                        $._ _ _ _ _ $_ _ _ __
            lnslda(s Name


            Number        Street




            City                                  State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make a y payments or transfer any property on account of a debt that benefited
    an Insider?
    Include payments on debts guaranteed or cosigned by an insider.

     !f No
     0     Yes. List all payments that benefited an insider.

                                                                        Dates of          Total amount     Amount you stlll       Reason for this payment
                                                                        pa                paid             owe
                                                                                                                                  lndude creditor's name

                                                                                         $_ _ _ _ _ $_ _ _ __
            lnside(s Name



            Number       Street




            City                                  State   ZIP Coda



                                                                                         $_ _ _ _ _ $_ _ _ __
            lnside(s Name



            Number       Street




            City                                  State   ZIP Coda




Official Form 107                                    Statement of Flnanci.al       lrs for lndlviduals Filing for Bankruptcy                                page4
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Debtor 1      Annetta                                                                                              Case number (ff IOlown)
                fln,!Name            MlddleName




               Identify Legal Actions, Repossessions, and Fo                                 losures
  9. Within 1 year before you flied for bankruptcy, were you a party n any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims ctions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     !f No
     □ Yes. Fill in the details.
                                                                     Nature of the case                      Court or agency                              Status of the case


            Case title._ _ _ _ _ _ _ _ _ __
                                                                                                            Court Name
                                                                                                                                                          □ Pending
                                                                                                                                                          □ Onappeal
                                                                                                            Number     Street                             0   Concluded

            Case number
                                                                                                            City                     State   ZIP Code



            CaseliUe._ _ _ _ _ _ _ _ _ __
                                                                                                            Court Name
                                                                                                                                                          0   Pending

                                                                                                                                                          □ Onappeal
                                                                                                           ·Number     Street                             D   Concluded

            Case number _ _ _ _ _ _ _ __
                                                                                                           /City                     State   ZIPCode


  10. Within 1 year before you flied for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     0     No. Go to line 11.
     Iii Yes. Fill in the information below.
                                                                              Describe the property                                           Date      Value of the property



                                                                                                                                                        $._ _ _ _ __




                                                                               □            rty was repossessed.
                                                                               s            rty was foreclosed.

               J)Ql/q!--
                Clty                   TX.        J!'2!'!17tf ~                           party was garnished.
                                                                                          party was attached, seized, or levied.

                                                                                                                                              Date       Value of the propertj



                                                                                                                                                        $._ _ _ _ __
                Creditor's Name



                Number      Street
                                                                              Explain       at happened

                                                                              0    P perty was repossessed.
                                                                              0    P party was foreclosed.
                J
                City                              State   ZIP Code
                                                                              □ P party was garnished.
                                                                              □ P party was attached, seized, or levied.



Official Form 107                                    Statement of Financial               lrs for Individuals FIiing for Bankruptcy                              pages
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Debtor 1          Annetta
                   Flnt Name     Middle Name             laltNane
                                                                          McCall                       Casenumber1wmowni   t~ -/3fJ',?-?/JR
 11. Within 90 days before you flied for bankruptcy, did any credlto , including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a de ?
     ef    No
     0     Yes. Fill in the details.

                                                                                                                             Data action      Amount
                                                                                                                            -takan
           Cradlto(s Name

                                                                                                                                              $_ _ _ _ __
           Number      Street




           City                           State   ZIP Code      Last 4 digits of a   unt number: XXXX-_ _ _ _


 12. Within 1 year before you filed for bankruptcy, was any of your roperty in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another   cial?
     ii No
     D Yes
                  Ust Certain Gifts and Contributions


 13. Within 2 years before you flied for bankruptcy, did you give a                  gifts with a total value of more than $600 per person?
     ii No
     D Yes. Fill in the details for each gift.

            Gifts with a total value of mon than $800           Describe the gifts                                          Dates you gave       Value
            per person                                                                                                      the gifts



                                                                                                                                               $_ _ _ __
           Person to Whom You Gave the Gift

                                                                                                                                               $_ _ _ _ __


           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600           Describe the gifts                                          Dates you gave      Value
           per person                                                                                                       the gifts


                                                                                                                                               $_ _ _ _ __
           Person to Whom You Gave Iha Gift

                                                                                                                                               $_ _ _ _ __



           Number      Street



           City                           State   ZIP Code


           Person's relationship to you _ _ _ _ _                                I
Official Form 107                                  Statement of Financial ,.irs for Individuals Filing for Bankruptcy                                   page&

                                                                                 I
                                 Case 22-13983-PDR                                Doc 18              Filed 06/06/22                Page 43 of 49



Debtor 1          Annetta
                   Fll9tName         Middle Name                Last Nana
                                                                                   McCall                              Case number (K known>   1~ -/ 39f'.1 -f}IJ€'

 14. Within 2 years before you flied for bankruptcy, did you give an gifts or contributions with a total value of more than $600 to any charity?

     SNo
     □ Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                        Describe what you                                                       Datllyou          Value
            that total more than $600                                                                                                          c:ontrlbutad



                                                                                                                                                                 $_ _ _ __
           Charity's Name

                                                                                                                                                                 $_ _ _ __



           Number      Street




           City          State            ZIP Code




                   List Certain Lones


 15. Within 1 year before you flied for bankruptcy or since you fll                             for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambllng?

     lil'No
     □ Yes. Fill in the details.

            Describe tha property you loat and                          Describe any lnsu nee coverage for the Ion                             Date of your      Value of property
            how tha loss occurnd                                                                                                               Ion               loat
                                                                        Include the amount
                                                                        claims on line 33 of

                                                                                                                                                                 $_ _ _ _ __




                  Ust Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or any                              e else acting on your behalf pay or transfer any property to anyone
     you consuHed about seeking bankruptcy or preparing a ban                                    ptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit co nseling agencies for services required in your bankruptcy.

     liif No
     D Yes. Fill in the details.
                                                                        Description and        lue of any property transf11rred                Date payment or   Amount of payment
                                                                                                                                               transfarwu
            Person Who Was Paid                                                                                                                made


            Number      Street                                                                                                                                   $_ _ _ _ __


                                                                                                                                                                 $_ _ _ _ __

            City                            State    ZIP Code



            Email or   we-      address

            Person Who Made the Paymen~ H Not You



Official Form 107                                      Statement of Financial                  lrs for Individuals FIiing for Bankruptcy                                 page7
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Debtor 1       Annetta                                                        McCall                           Case number (ff knownl
                   FntName          MlddleName              L.atN.,,e




                                                                    Description and val     of any property transferred                 Date payment or     Amount of
                                                                                                                                        transfer wu made    payment

            Person Who Was Paid
                                                                                                                                                           $_ _ _ __

            Number     Street
                                                                                                                                                           $_ _ _ _ __



            City                        Slate    ZIP COde




            Email or - - address


            Person Who Made the Payment, if Not You


 17. Within 1 year before you flied for bankruptcy, did you or any                        e else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make pa                            nts to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     1B No
     0     Yes. Fill in the details.

                                                                    Description and va     of any property transferrecl                 Date payment or    Amount of payment
                                                                                                                                        transferwu
                                                                                                                                        made
             P81110n Who Was Paid

                                                                                                                                                           $_ _ _ __
            Number     Street

                                                                                                                                                           $_ _ _ __

            City                         State   ZIP COde

 18. Within 2 years before you filed for bankruptcy, did you sell,       de, or otherwise transfer any property to anyone, other than property
     transferred In the ordinary course of your business or finan        I affairs?
     Include both outright transfers and transfers made as security (su as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listF!d on is statement.
     ilfNo
     0     Yes. Fill in the details.

                                                                    Description and        of property         Dncrlbe any property or payments racelvad      Date transfer
                                                                    tranafarred                                or debts paid In exchange                      -made
            Person Who Received Transfer



            Number     Street




            City                        State    ZIP Code


            Person's relationship to you _ _ _ __



            Person Who Received Transfer


            Number     Street




            City                        Stats    ZIP COde

            Person's relationship to you _ _ _ __

Official Form 107                                  Statement of Financial             airs for Individuals FIiing for Bankruptcy                                page8
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Debtor 1      Annetta
                  First Name      MlddleName              Last Name
                                                                                                            Case number(ffknownl    n- /;; !£5 -Pj},e
 19. Within 10 years before you flied for bankruptcy, did you trans      any property to a self-eettled trust or slmllar device of which you
     are a beneficiary? (These are often called asset-protection device .)

     ifNo
     □ Yes. Fill in the details.

                                                                  Description and va e of the property tranafemid                                            Date tranafer
                                                                                                                                                             waamacle


           Name of trust _ _ _ _ _ _ _ _ __




             List Certain Flnanclal Accounta, Instrument-,                                  Deposit Boxes, and Storage Units
 20. Within 1 year before you filed for bankruptcy, were any financ al accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial a unts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, association and other financial Institutions.
     IBNo
     □ Yes. Fill in the details.
                                                                  Laat 4 digits of        nt number    Type of account or          Date account wu        Last balance befont
                                                                                                       lnatrument                  closed, sold, moved,   closing or transf9r
                                                                                                                                   or tranafemid

           Name of Flnanclal lnatllutlon
                                                                  xxxx-_ _ _ _                         □ Checking                                         $_ _ _ __

           Number       S1lwt                                                                          □   Savings

                                                                                                       □   Money market

                                                                                                       □   Brokerage
           City                        State   ZIP Code                                                □ Other_ _ __



                                                                                                       □ Checking                                         $_ _ __
           Name of Financial lmtitutlon
                                                                  XXXX-_ -            -      -
                                                                                                       □   Savings

           Number       S1lwt                                                                          □ Money market
                                                                                                       □   Brokerage
                                                                                                       □ Other_ _ __
           City                        State   ZIP Code

 21. Do you now have, or did you have within                1 year before you fled for bankruptcy, any safe deposit box or other depository for
     s991rities, cash, or other valuables?
     Cl'No
     □ Yes. Fill in the details.
                                                                  Who else had a                                    Describe the contents                        Doyoustlll
                                                                                                                                                                 haw It?

                                                                                                                                                                  □ No
           Name of Fln■ ncial lnatltutlon                        Nama                                                                                             □ Yes

           Number       S1lwt                                    Number   Stnet


                                                                 City                     ZIP Code
           City                       S-       ZIPCode


Official Form 107                                Statement of Financial              airs for Individuals Fillng for Bankruptcy                                 page 9
                                   Case 22-13983-PDR                           Doc 18            Filed 06/06/22                    Page 46 of 49



Debtor 1          Annetta                                                        McCall                              Case number (ff"'1own)
                   First Name       MktdleName               last Name




 22. Have you stored property In a storage unit or place other than                          ur home within 1 year before you flied for bankruptcy?
     !f No
     □ Yes. Fill in the details.
                                                                    Who else has or had acceu to It?                       Deac:rlbe the contanbl                 Do you still
                                                                                                                                                                  haw It?

                                                                                                                                                                  □ No
            Name of Storage Faclllty                                Name
                                                                                                                                                                  □ Yes

            Number       Stl-.at                                    Number     Street


                                                                    CltySblle ZIP Code

            City                        State     ZIP Code



                     Identify Property You Hold or Control for                          11o1.,.... l!IN
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold In trust for someone.
     8No
     □ Yes. FIii in the details.
                                                                   Where la the prope                                      Describe the property            Value



            Owner's Name                                                                                                                                    $._ _ __

                                                                  Number     Streat
            Number       Street



                                                                  City                          State     ZIP Coda
            City                        State     ZIP Code


                     Give Detall■ About Envlror.mental Info

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute r regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the a r, land, soil, surface water, groundwater, or other medium,
     Including statutes or regulations controlllng the cleanup of ese substances, wastes, or material.
 •   Site means any location, facility, or property as defined unde any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disp I sites.
 •   Hazardous material means anything an environmental law d                              nes as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or s                           Har term.

 Report all notices, releases, and proceedings that you know a                             ut, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be llab                           or potentially liable under or In violation of an environmental law?

     !I No
     □ Yes. FIii in the details.
                                                                   Governmental u                             Environmental     lavil, If you know it      Date of notice



           Name of site                                           Govemmental unit


           Number      Street                                     Number     Stl-.at


                                                                  City                         ZIP Code



           City                        Stste     ZIP Coda




Official Form 107                                    Statement of Financial               airs for Individuals Filing for Bankruptcy                          page 10
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Debtor 1        Annetta                                                       McCall                             Case number (ffknownl
                   FlrwtName        Middle Name              LaltName




 25. Have you notlfled any governmental unit of any release of haza ous material?

     Ill No
     □ Yes. Fill in the details.
                                                                   Governmental unit                         Environmental   law, H you know It                   Data of notice



            Name of site                                          Governmental unH


                                                                  Number   Slrfft



                                                                                            ZIP Code


            City                         Slate    ZIP CoM


 26. Have you been a party In any Judicial or administrative p                           Ing under any environmental law? Include settlements and orders.

     l!f   No
     □ Yes. Fill in the details.


           Casa tltla_ _ _ _ _ _ _ _ _ __
                                                                    Court or agency



                                                                    Court Name
                                                                                                                 Natura of the case

                                                                                                                                                                   -
                                                                                                                                                                   Status of the



                                                                                                                                                                   0    Pending

                                                                                                                                                                   □    Onappaal

                                                                                                                                                                   0    Concluded


           Casa number                                              City                  Slate   ZIP Cod■



                    Give Details About Y-r 8'islneu or Conllel~NIII to Any Bualneu
 27. Within 4 years before you filed for bankruptcy, did you own    business or have any of the following connections to any business?
           □ A sole proprietor or self-employed In a trade, profess n, or other activity, either full-time or part-time
           0 A member of a limited liability company (LLC) or liml liability partnership (LLP)
           □ A partner In a partnership
           0 An officer, director, or managing executive of a co
           □ An owner of at least 5% of the voting or equity secu

     If No. None of the above applies. Go to Part 12.
     □ Yes. Check all that apply above and fill in the details bel
                                                                                       re of the buslneas                        Employer ldantlflcatlon number
                                                                                                                                 Do   not Include Social Security number or mN.

                                                                                                                                 EIN: _ _ _ _ _ _ _ _ _
            Number       street
                                                                                                                                 Dates buslnaas existed


                                                                                                                                 From                To
            City                         Slate    ZIP CoM
                                                                    Describe the       re of the business                        Emplopr Identification number
                                                                                                                                 Do not Include Social Security number or mN.
            Bualn-Nam■


                                                                                                                                 EIN: _ _ _ _ _ _ _ _ _
            Number      street
                                                                    Name of accou      nt or bookkeeper                          Dates business existed



                                                                                                                                 From                To
            City                         Steta    ZIP Code


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      •


Debtor 1      Annetta                                                     McCall                            Case number (If known)
                   FlntName        MkkllNmne              LallNane




                                                                                                                            Employer Identification number
                                                                 Describe the natu    of the business
                                                                                                                            Do not include Social Security number or ITIN.
            BuslneuName
                                                                                                                            EIN: _ _ _ _ _ _ _ _ _

            Number      Street
                                                                 Name of accounta      or bookkeeper                        Dates business axlstad



                                                                                                                            From               To
            City                       State   ZIP Code




 28. Within 2 years before you flied for bankruptcy, did you give a nanclal statement to anyone about your business? Include all financial
     ln1tutlons, creditors, or other parties.

     II No
     D     Yes. Fill in the details below.

                                                                 Datelssuad



            Name                                                 MM/DD/YYYY


            Number      Street




            City                       State   ZIP Code




                   Slgnllelow

      I have read the answers on this Statement of Financial Affai and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a fa e statement, conceallng property, or obtaining money or property by fraud
      In connection with a bankruptcy case can result In fines up $250,000, or Imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      -&r~  Signature of Debtor 1
                                                                              JC
                                                                                     lgnatura of Debtor 2


            Data6--e-7<_                                                             ata   t. I fAI %1
      Did you attach additional pages to Your Statement of Fina                      lal ~ u a l s Filing for Bankruptcy {Official Form 107)?

      ✓No
      □ Yes


      Dl~ou pay or agree to pay someone who Is not an attome to help you fill out bankruptcy forms?
      il"No
      □ Yes. Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                     Declaration, and Signature (Official Fonm 119).




Official Form 107                                Statement of Financial              irs for Individuals Filing for Bankruptcy                                  page 12
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                                              UNITED STATES B NKRUPTCY COURT
                                               SOUTHERN DIS ICT OF FLORIDA
                                                        www.flsb.u courts.gov

                                                                                  ;J.l--/ 3 9f3f'IJR
  In r e : ~             /f/f,µ/4                                  .   Case No.
                                                                       Chapter   1:3               ,.
                           Debtor         I

                    DEBTOR'S NOTICE OF COMPLIANCE 1TH REQUIREMENTS FOR AMENDING
                                         CREDITOR I FORMATION

 This notice is being filed in accordance with Local Rules 1007 2(8), 1009-1(0), or 1019-1 (8) upor the filing of an amendment
 to the debtor's lists, schedules or statements, pursuant to Ban ruptcy Rules 1007, 1009, 1019 or 5010-1(8). I certify that:

  [ ]       The paper filed .!Sis!§ crerlitor(s) as reflected on the ttached list (include name and address of each creditor being
            added). I have:
            1.   remitted the required fee (unless the paper is Bankruptcy Rule 1019(5) report);
            2.   provided the court with a supplemental mat x gf_Qnly the added creditors on a CD or· memory stick in
                 electronic text format (ASCII or MS-DOS text), or electronically uploaded the arlded creditors in CM/ECF;
            3.   provided notice to affected parties, including s rvice of a copy of this notice and                ·
                 a copy of the §341 or post conversion meeti g notice [see Local Rule 1009-1(0)(2)1 and filed a certificate of




                  -~
                 service in compliance with the court [see Loca Rule 2002-1 (F)];
            4.   filed an amended schedule(s) and summary o schedules; and
            5.   if adding creditors pursuant to Local Rule 50 0-1(8), filed a motion to reopen accompanied by the required
                                                                                                                                  .
  [ 1       The paper filed deletes a creditor{s) as reflected o the attached list (include name and address of each
            creditor being deleted). I have:
            1.    remitted the required fee;
            2.    provided notice to affected parties and filed a ertificate of service i)l compliance with the court (see
                  Local Rule 2002-1 (F)]; and
            3. · filed an amended schedule(s) and summary o schedules .

. [ ]      The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. I have:
         . 1.   provided notice to affected parties, including rvice of a copy of this notice and a copy of
                the §341 or post conversion meeting notice [s Local Rule 1009-1(0)(2)) and filed a certificate of service
                in compliance with the court [see Local Rule 2 02-1 {F)]; and
           2.   fjled an amended schedule(s) or other paper.

 [ 1      The paper filed corrects schedule Dor E/F amount( ) or classification(s). I have:
          1.    remitted the required fee;
          2.    provided notice tc;> affected parties and filed a ertificate of service in compliance with the court (see Local
                Rule 2002-1 (F)]; and
          3.   filed an amended schedule(s} and summary o schedules.

 ✓ None of the above apply. The paper filed doe_s n                  require ari additional fee, a supplemental matrix, or notice to
            affected parties. It □ does ~ does not require the fili g of an amended schedule and summary of schedules ..

 I also certify that, if filing amended schedules, Bankruptcy F rm 106 "Declaration About an lndividu~I Debtor's Schedules•
 (signed by both debtors} or Bankruptcy Form 202 , "Decla tiori Under Penalty of Perjury for Non-Individual Debtors• has
 been filed as required by Local Rules 1007-2(8), 1009-1(A)(2 and (0)(1), or 1019-1(8).

 Dated: .   6-6 -<.J                                                                                                                   ~

                                                             Jpi
                                                                                                                    '

 Print Name
                                                             ---=---.=-=::::....,......~~fl..:...=o~~~J,u ti Fl :rtsLf"

 Florida Bar Number

 LF-4 (rev. 12/01/15)
